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     8                             UNITED STATES DISTRICT COURT
     9                          SOUTHERN DISTRICT OF CALIFORNIA
    10

    11   D.F., a minor, by and through his
         Guardian Ad Litem, TASHINA
    12   AMADOR, individually and as
         successor in interest to Alexis                    Case No.: 3:13-cv-00331-GPC-KSC
    13   Fontalvo, deceased, and
         T.L., a minor, by and through her
    14   Guardian Ad Litem, TASHINA                         Judge: Hon. Gonzalo P. Curiel
         AMADOR,
    15
                                                            PRETRIAL ORDER
    16                           Plaintiffs,
    17               vs.
    18
         SIKORSKY AIRCRAFT
    19   CORPORATION; et al.,
    20                     Defendants.
    21

    22
                     Following pretrial proceedings pursuant to Fed. R. Civ. P. 16 and Civil
    23
         Local Rule 16.1(f)(6),
    24
                     IT IS ORDERED:
    25
                                                       I.
    26
         This is an action for Wrongful Death under the California Wrongful Death Statute
    27
         (Cal. Code of Civil Proc. Part II., Chap. 4, Article 6), brought by the minor plaintiffs
    28

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    1    D.F. and T.L. by and through their guardian ad litem, TASHINA AMADOR
    2    pursuant to the Second Amended Complaint filed in this Court October 9, 2014
    3    [Doc. No. 71].         Defendants SIKORSKY AIRCRAFT CORPORATION and
    4    UNITED TECHNOLOGIES CORPORATION filed and served of an Answer to the
    5    Second Amended Complaint on October 23, 2014 [Doc. No. 75].
    6    A separate Statement to be read to the jury of the nature of the case and the claims
    7    and defenses is attached.
    8

    9                                              II.
   10    The following Causes of Action under the Second Amended Complaint shall be
   11    tried:
   12                                 FIRST CAUSE OF ACTION
   13                    STRICT PRODUCTS LIABILITY [DESIGN DEFECT]
   14    The elements of this Cause of Action are: (1) Defective Product; (2) Defendant
   15    within the Stream of Commerce; (3) Causation; and (4) Damages.             Damages
   16    recoverable are pecuniary losses, and non-pecuniary damages for loss of society,
   17    comfort, care and protection.
   18                Defendants assert the affirmative defense of Government Contractor
   19    Immunity under Boyle v. United Technologies Corp., 487 U.S. 500, 514 (1988).
   20    Defendants also assert the defense of superseding cause, that this action is not
   21    justiciable per the Political Question Doctrine, and that California law is preempted
   22    by federal law and military regulations and specifications.
   23                                SECOND CAUSE OF ACTION
   24                STRICT PRODUCTS LIABILITY [MANUFACTURE DEFECT]
   25                The elements of this Cause of Action are: (1) Defective Product; (2)
   26    Defendant within the Stream of Commerce; (3) Causation; and (4) Damages.
   27

   28                                                    2
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    1                Damages recoverable are pecuniary losses, and non-pecuniary damages for
    2    loss of society, comfort, care and protection.
    3                Defendants assert the affirmative defense of Government Contractor
    4    Immunity under Boyle v. United Technologies Corp., 487 U.S. 500, 514 (1988). .
    5    Defendants also assert the defense of superseding cause, that this action is not
    6    justiciable per the Political Question Doctrine, and that California law is preempted
    7    by federal law and military regulations and specifications.
    8

    9                                   THIRD CAUSE OF ACTION
   10                NEGLIGENT PRODUCTS LIABILITY [NEGLIGENT DESIGN]
   11                The elements of this Cause of Action are: (1) Duty [of designer]; (2) Breach
   12    [Defective Product]; (3) Defendant within the Stream of Commerce; (4) Causation;
   13    and (5) Damages.
   14                Damages recoverable are pecuniary losses, and non-pecuniary damages for
   15    loss of society, comfort, care and protection.
   16                Defendants assert the affirmative defense of Government Contractor
   17    Immunity under Boyle v. United Technologies Corp., 487 U.S. 500, 514 (1988).
   18    Defendants also assert the defense of superseding cause, that this action is not
   19    justiciable per the Political Question Doctrine, and that California law is preempted
   20    by federal law and military regulations and specifications.
   21

   22                                 FOURTH CAUSE OF ACTION
   23     NEGLIGENT PRODUCTS LIABILITY [NEGLIGENT MANUFACTURE]
   24                The elements of this Cause of Action are: (1) Duty [of manufacturer]; (2)
   25    Breach [Defective Product]; (3) Defendant within the Stream of Commerce; (4)
   26    Causation; and (5) Damages.
   27

   28                                                    3
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    1                Damages recoverable are pecuniary losses, and non-pecuniary damages for
    2    loss of society, comfort, care and protection.
    3                Defendants assert the affirmative defense of Government Contractor
    4    Immunity under Boyle v. United Technologies Corp., 487 U.S. 500, 514 (1988).
    5    Defendants also assert the defense of superseding cause, that this action is not
    6    justiciable per the Political Question Doctrine, and that California law is preempted
    7    by federal law and military regulations and specifications.
    8

    9                                   FIFTH CAUSE OF ACTION
   10                                           NEGLIGENCE
   11                The elements of this Cause of Action are: (1) Duty; (2) Breach; (3) Causation;
   12    and (4) Damages.
   13                Damages recoverable are pecuniary losses, and non-pecuniary damages for
   14    loss of society, comfort, care and protection.
   15                Defendants assert the affirmative defense of Government Contractor
   16    Immunity under Boyle v. United Technologies Corp., 487 U.S. 500, 514 (1988).
   17    Defendants also assert the defense of superseding cause, that this action is not
   18    justiciable per the Political Question Doctrine, and that California law is preempted
   19    by federal law and military regulations and specifications.
   20

   21                                                 III.
   22    The witnesses to be called to testify are as follows:
   23                                             By Plaintiff
   24                                          (a) Intend to Call:
   25    Norma Fontalvo: Mother of Decedent; Damages
   26    Rolando J. Fontalvo: Father of Decedent; Damages
   27    Tanika Fontalvo: Minor Plaintiff; Damages
   28                                                        4
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    1    Dominic Fontalvo: Minor Plaintiff; Damages
    2    Rolando L. Fontalvo: Brother of Decedent; Damages
    3    Tashina Amador: Guardian ad Litem of Minor Plaintiffs; Damages
    4    Angelo Rainey: Friend of Decedent; Damages
    5    Justin Brown (by Transcript of Deposition): Offered testimony attached
    6    William Coffin (by Transcript of Deposition): Offered testimony attached
    7    Christopher Danley (by Video Depostion): Offered testimony attached
    8    Rebecca Fitzsimmons (by Transcript of Deposition): Offered testimony attached
    9    Micah Hamilton (by Video Deposition): Offered testimony attached
   10    Robert Jordan (by Video Deposition): Offered testimony attached
   11    Leslie Leigh (by Video Deposition): Offered testimony attached
   12    Joshua Perkins: Percipient witness as to manner of accident, training of Marines
   13    Evan Shelton: Percipient witness as to manner of accident, training of Marines
   14    Manning Seltzer (by Video Deposition): Offered testimony attached
   15    Ian Stevens: Percipient witness as to manner of accident, cause of mishap
   16    Megan Stone (by Video Deposition): Offered testimony attached
   17    Robert Wuthrich (by Video Deposition): Offered testimony attached
   18                                  (b) Expert Witnesses
   19    Arthur “Lee” Coffman: Accident Reconstruction testimony per his Expert Report
   20    John Bloomfield: Engineering testimony per his Expert Report
   21    David Fractor: Economics testimony per his Expert Report
   22    William Lawrence: Aviation procurement testimony per his Expert Report
   23    James Knox (by Video Deposition): Offered testimony attached
   24    Robert Ostrowski (by Video Deposition): Offered testimony attached
   25    Joseph Reynolds (by Video Depostion): Offered testimony attached
   26    Douglas Stimpson (by Video Deposition): Offered testimony attached
   27    John Wakefield (by Video Deposition): Offered testimony attached
   28                                               5
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    1                                (c) Reserve the Right to Call
    2    James Flowers: Friend of Decedent; Damages
    3    Matthew Garcia: Friend of Decedent; Damages
    4    Ralph Cisneros: Friend of Decedent; Damages
    5    Thomas Silva: Friend of Decedent; Damages
    6    Ivan Valdez: Friend of Decedent; Damages
    7    Gilbert Davila: Friend of Decedent; Damages
    8    Aldo Bassignani (by Video Deposition): Offered testimony attached
    9    Christopher Bresh (by Video Deposition): Offered testimony attached
   10    Christopher Lowenstein (by Video Deposition): Impeachment as to engineering
   11    Jeremiah Wilcox (by Video Deposition): Offered testimony attached
   12    Jerald Udinsky (by Video Deposition): Impeachment as to Economics Expert
   13                                       By Defendants
   14                                      (a) Intend to Call
         Jeramiah Michael Wilcox:
   15
         Gunnery Sgt. Wilcox will give testimony concerning the function of the CH-53E
   16
         landing gear safety pin and auxiliary fuel tank safety pin; CH-53E pre-flight and pre-
   17

   18
         taxi procedures, including but not limited to the proper procedures for removal of

   19
         aircraft safety pins; and his training of Sgt Fontalvo.

   20
         Martin Montes de Oca:

   21
         Mr. Montes de Oca will give testimony concerning considerations by the Navy of

   22
         wiring problems in the CH-53E aircraft and solutions to those problems including

   23
         but not limited to arc-fault circuit breakers, diagnostic tools, changes to NATOPS

   24    manuals, changes to training and wire awareness, and design changes to the wire

   25    interconnect system including changes to the wire clamping system and electrical

   26    connectors.   Mr. Montes de Oca will also provide testimony concerning the

   27    condition of wiring in CH-53 aircraft including the general condition of wiring due

   28                                                  6
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         to degradation and maintenance issues in the U.S. Navy and USMC’s fleet of CH-
    1
         53 helicopters.
    2

    3
         Aldo Bassignani:

    4
         Mr. Bassignani will give testimony concerning the government’s investigation of

    5
         the subject accident involving Sgt. Fontalvo, including the condition of wiring, and

    6
         the testing of wires, the subject CH-53E landing gear operation, and the CH-53E

    7
         landing gear safety pins.

    8
         Martin Montes de Oca (by video deposition); Offered testimony attached

    9
         Aldo Bassignani (by video deposition); Offered testimony attached

   10    Bill Mellen (by video deposition); Offered testimony attached

   11    Oliviu Muja (by video deposition); Offered testimony attached

   12    Leslie Leigh (by video deposition); Offered testimony attached

   13    John Fletcher (by video deposition); Offered testimony attached

   14    Keith Sparks (by video deposition); Offered testimony attached

   15    Evan Reid Shelton (by video deposition); Offered testimony attached

   16    Ian Danial Stevens (by video deposition); Offered testimony attached

   17    SSGT Meghan Stone (by video deposition); Offered testimony attached

   18    Jeramiah Michael Wilcox (by video deposition); Offered testimony attached

   19    Lee Bassett (by video deposition); Offered testimony attached

   20    Justin Brown (by video deposition); Offered testimony attached

   21    Rebecca Fitzsimmons (by video deposition); Offered testimony attached

   22                                  (b) Expert Witnesses
   23    John Wakefield:
   24    Mr. Wakefield is expected to provide opinion testimony per his expert report

   25    concerning the design, development, and testing of the YCH-53E helicopter from
   26    inception through the production and delivery for all the CH-53E and MH-53E
   27

   28                                                7
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         helicopters, to include the design contracts, detailed specifications of the CH-53E,
    1
         its landing gear system, the electrical/hydraulic control system for the landing gear;
    2
         the Sikorsky Aircraft manufacturing process, and delivery process for the CH-53E
    3

    4
         helicopters; the contractual requirements related to the manufacturer of the subject

    5
         helicopter BUNO 163077; the working relationship between USN, NAVAIR and

    6
         Sikorsky Aircraft for the CH-53E; the wiring, including Kapton/polyimide and

    7
         Spec-55 wiring, used by the military; efforts to remove Kapton/polyimide wiring

    8
         from military aircraft including the CH-53E; and other topics related to the CH-

    9
         53E helicopter and subject helicopter and its landing gear system to include the

   10    electrical/hydraulic control system in response to testimony presented by plaintiffs

   11    and other witnesses, including the probable cause of the accident aircraft's apparent

   12    inadvertent gear retraction.

   13

   14    James Knox:

   15    Dr. Knox is expected to provide opinion testimony per his expert report concerning

   16    the state of the wiring on the accident helicopter, including physical examination of

   17    the repaired aircraft; certain laboratory testing and inspections of the wiring

   18    removed by the Marine Corp post-accident; functioning of the CH-53E hydraulic

   19    utility module and landing gear system; the probable cause of the accident aircraft's

   20    apparent inadvertent gear retraction; the design of the aircraft electrical wiring, its

   21    systems and its safety interlocks including advantages and disadvantages of

   22    alternative designs; and Dr. Knox may also testify on other topics related to the

   23    electrical system and wiring in response to testimony presented by plaintiffs and

   24    other witnesses.
   25
   26    Robert Ostrowski:
   27

   28                                                  8
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         Mr. Ostrowski is expected to provide opinion testimony per his expert report
    1
         concerning United States Marine Corps (USMC) flight operations, ground
    2
         operations and pre-flight operations; all NATOPS manuals; USMC organizational
    3

    4
         structure; the maintenance requirements and operation of the CH-53E to include all

    5
         sub-systems and the electrical interconnect system and all wire retentions; USMC

    6
         training of aerial observers, Collateral Duty Inspectors (CDI) and Collateral Duty

    7
         Quality Assurance Representatives (CDQAR); the duties and responsibilities of a

    8
         CDI and CDQAR; condition of wiring in CH-53E helicopters, including the

    9
         subject helicopter; aviation (helicopter) safety; Sgt. Fontalvo’s fight physical

   10    questionnaires and waivers Sgt. Fontalvo was required to have for flight

   11    operations; and Mr. Ostrowski may also testify on other topics related to the CH-

   12    53E helicopter, USMC flight operations, maintenance procedures and training, in

   13    response to testimony presented by plaintiffs and other witnesses.

   14

   15    Jerald Udinsky:

   16    Dr. Udinsky is an economist who is expected to provide opinion testimony per his

   17    expert report on the economic issues, including alleged loss of support of plaintiffs,

   18    whether support given by decedent to T.L. is sufficient for standing as a wrongful

   19    death claimant, present economic value of future losses of support and job

   20    prospects and earnings of plaintiff. Dr. Udinsky may also rebut opinions of other

   21    experts in his field.

   22

   23                                (c) Reserve the Right to Call
   24    Manny Stelzer:
   25    Mr. Stelzer may provide testimony regarding his inspection of wire from the
   26    accident helicopter, properties of Kapton insulted wires and its problems, and may
   27    respond to testimony presented by plaintiffs’ witnesses.
   28                                                   9
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    1

    2
         Christopher Lowenstein:
         Mr. Lowenstein may provide opinion testimony concerning issues raised by
    3

    4
         Plaintiff’s experts regarding military aircraft accident investigations and contractors

    5
         role in those investigations, Sikorsky’s role in the government’s investigation of the

    6
         subject accident, and may respond to testimony presented by plaintiffs’ witnesses.

    7

    8
         Christopher Bresh:

    9
         Mr. Bresh may provide opinion testimony concerning the mechanical operation of

   10    the CH-53E landing gear; the function of landing gear safety pins and their use in

   11    the aviation industry, and may respond to testimony presented by plaintiffs’

   12    witnesses.

   13

   14    Robert Wuthrich (by video deposition); Offered testimony attached

   15    William Althizer (by video deposition); Offered testimony attached

   16    Charles Coffin (by video deposition); Offered testimony attached

   17    Robert Jordan (by video deposition); Offered testimony attached

   18    Christopher Danley (by video deposition); Offered testimony attached

   19    Joshua Perkins (by video deposition); Offered testimony attached
   20

   21                                             IV.
   22                                     Plaintiffs’ Exhibits
   23     No.        DOCUMENTS             WILL        WILL OFFER OBJ?
                                           OFFER       IF NEEDED
   24      1.        WIRES: Bag 1          X
   25      2.        Wires: Bag 2          X
   26      3.        Wires: Bag 3          X
   27      4.        Wires: Bag 4          X
   28                                                10
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          No.        DOCUMENTS               WILL         WILL OFFER OBJ?
    1
                                             OFFER        IF NEEDED
    2      5.        Wires: Bag 5            X
    3      6.        Wires: Bag 6            X
    4      7.        REPORT: Command         X                         Conditional objection;
    5                Investigation                                     Plaintiffs have not
    6                [Redacted per 10 USC                              identified proposed
    7                2254]                                             redactions.
    8                                                                  Defendants reserve the
    9                                                                  right to object to
   10                                                                  redactions.
   11      8.        REPORT:                 X                         Conditional objection;
   12                Safety Investigation                              Plaintiffs have not
   13                [Redacted per FRE 701                             identified proposed
   14                & 802]                                            redactions.
   15                                                                  Defendants reserve the
   16                                                                  right to object to
   17                                                                  redactions.
   18      9.        JAGMAN                  X
   19                ENCLOSURE (2)
   20      10.       JAGMAN                  X
   21                ENCLOSURE (3)
   22      11.       JAGMAN ENCL (4)         X
   23
           12.       JAGMAN ENCL (5)                      X
   24
           13.       JAGMAN ENCL (6)                      X
   25
           14.       JAGMAN ENCL (7)                      X
   26
           15.       JAGMAN ENCL (8)                      X
   27

   28                                                11
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          No.        DOCUMENTS               WILL         WILL OFFER OBJ?
    1
                                             OFFER        IF NEEDED
    2      16.       JAGMAN ENCL (9)         X
    3      17.       JAGMAN ENCL (10)        X
    4      18.       JAGMAN ENCL (11)        X
    5      19.       JAGMAN ENCL (13)                     X
    6      20.       JAGMAN ENCL (16)                     X            Conditional objection;
    7                [Redacted per FRE 701                             Plaintiffs have not
    8                & 802]                                            identified proposed
    9                                                                  redactions.
   10                                                                  Defendants reserve the
   11                                                                  right to object to
   12                                                                  redactions.
   13      21.       JAGMAN ENCL (17)        X
   14      22.       JAGMAN ENCL (19)        X
   15      23.       JAGMAN ENCL (20)                     X
   16      24.       JAGMAN ENCL (21)        X
   17
           25.       JAGMAN ENCL (22)        X
   18
           26.       JAGMAN ENCL (23)        X
   19
           27.       JAGMAN ENCL (24)        X
   20
           28.       JAGMAN ENCL (25)        X
   21
           29.       JAGMAN ENCL (26)        X
   22
           30.       JAGMAN ENCL (27)        X
   23
           31.       JAGMAN ENCL (28)        X
   24
           32.       JAGMAN ENCL (29)        X
   25
           33.       JAGMAN ENCL (30)        X
   26
           34.       JAGMAN ENCL (33)        X
   27

   28                                                12
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          No.        DOCUMENTS                WILL         WILL OFFER OBJ?
    1
                                              OFFER        IF NEEDED
    2      35.       JAGMAN ENCL (40)         X
    3      36.       JAGMAN ENCL (41)                      X
    4      37.       JAGMAN ENCL (42)                      X
    5      38.       JAGMAN ENCL (43)         X
    6      39.       JAGMAN ENCL (44)         X
    7      40.       JAGMAN ENCL (45)         X
    8      41.       JAGMAN ENCL (48)                      X
    9      42.       Sikorsky Build File re   X
   10                BuNo 163077
   11                [SIK 000001–006861]
   12      43.       N00019–85–C–0066         X
   13                [SIK 006862–007008]
   14      44.       SD-552-3-9               X
   15
                     [SIK 007009–007204]
   16
           45.       MIL-C-58096                           X            Relevance. Document
   17
                     [SIK 007219–7257]                                  is unrelated to the
   18
                                                                        components plaintiffs
   19
                                                                        allege caused the
   20
                                                                        accident. Document
   21
                                                                        should be excluded as
   22
                                                                        not tending to make
   23
                                                                        any fact of
   24
                                                                        consequence to the
   25
                                                                        litigation more or less
   26

   27

   28                                                 13
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          No.        DOCUMENTS               WILL         WILL OFFER OBJ?
    1
                                             OFFER        IF NEEDED
    2                                                                probable. Fed. R.
    3                                                                   Evid. 401-402.
    4      46.       Photos from 2005        X
    5                Mishap
    6                [SIK 007938–8290]
    7      47.       Sikorsky Engineering                 X
    8                Report re 2005 Mishap
    9                [SIK 008291–008301]
   10      48.       Sikorsky (Stelzer)      X
   11                PowerPoint re 2005
   12                Mishap
   13                [SIK 008302–008343]
   14      49.       Sikorsky Engineering    X
   15                Report re 2011 Mishap
   16                [SIK 008344–008352]
   17      50.       TD P 101756Z AUG        X
   18                11 [MIL038346–349]
   19      51.       Dependency Statement    X
   20                [DF-00230–234
   21      52.       CH-53E Landing Gear     X
   22
                     System Schematic
   23
                     [SIK008384]
   24
                     [Highlighted by J.
   25
                     Bloomfield]
   26

   27

   28                                                14
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          No.        DOCUMENTS             WILL         WILL OFFER OBJ?
    1
                                           OFFER        IF NEEDED
    2      53.       RH-53D Landing Gear                X          Not Provided.
    3                System Schematic                                Plaintiffs have not
    4                [SIK024984]                                     provided defendants
    5                [Highlighted by J.                              with this exhibit.
    6                Bloomfield]                                     Defendant do not
    7                                                                object to SIK008384
    8                                                                without Bloomfield
    9                                                                highlights.
   10      54.       US GAO Staff Study    X
   11                [Wakefield Ex 2-17-
   12                42]
   13      55.       YCH-53E Final Report X
   14                [SIK011778–12006]
   15      56.       SER-13197             X
   16                [SIK012484–12670]
   17      57.       SER-13066             X
   18                [SIK012224]
   19      58.       SER13451              X
   20                [SIK14085–14096]
   21      59.       SER-13300             X
   22                [SIK-13500–13744]
   23
           60.       H-53 Production       X
   24
                     Delivery Log
   25
                     [SIK022630–634]
   26

   27

   28                                              15
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          No.        DOCUMENTS              WILL         WILL OFFER OBJ?
    1
                                            OFFER        IF NEEDED
    2      61.       MIL-W-5088F            X
    3                [MIL210455–210515]
    4      62.       DD Form 250            X
    5                [SIK 006845–6861]
    6      63.       SEL-6361                            X
    7                [MIL259030–032]
    8      64.       SEL-1794                            X
    9                [MIL247341–342]
   10      65.       SD-552-3-10                         X
   11                [SIK018366–18617]
   12      66.       SES-13002                           X
   13                [SIK014944–15102]
   14      67.       UM Photo               X
   15                [SIK008317]
   16      68.       SocSec Statement of                 X
   17                Earnings [DF-000691-
   18                94]
   19
           69.       Amador Tax Return                   X
   20
                     Summary [DF-000697]
   21
           70.       HMH-361 Bare Wire      X
   22
                     Photos
   23
                     [MIL072889–72894]
   24
           71.       A1-H53CE-130-100       X
   25
                     [MIL100961–101055]
   26

   27

   28                                               16
           PRETRIAL ORDER                                    CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS              WILL         WILL OFFER OBJ?
    1
                                            OFFER        IF NEEDED
    2      72.       EI Final Report        X                       Conditional objection;
    3                R09446-11-0013                                    Plaintiffs have not
    4                [Redacted per 10 USC                              identified proposed
    5                2254] [MIL006494–                                 redactions.
    6                96]                                               Defendants reserve the
    7                                                                  right to object to
    8                                                                  redactions.
    9      73.       SD-24J                              X
   10      74.       TD P 061813Z JAN 12 X
   11                A1-H53CE-MRC-200
   12                Card 1
   13      75.       Flight Line Manual     X
   14                Card A1-H53BE-
   15                NFM-099 3-3
   16                [MIL051060]
   17      76.       NCIS Report Enclosure X                           Relevance. Plaintiffs
   18                (A/B)                                             have identified a
   19                [Death Scene Photos]                              number of accident
   20                                                                  scene photographs
   21                                                                  from the NCIS report
   22                                                                  depicting decedent
   23                                                                  and/or blood under or
   24                                                                  near subject helicopter
   25                                                                  or during an autopsy.
   26                                                                  (specifically,
   27                                                                  MIL073354-73369;
   28                                               17
           PRETRIAL ORDER                                     CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          MIL073375; and
    3                                                            MIL073415-442)
    4                                                            Defendants do not
    5                                                            dispute that the named
    6                                                            decedent died in the
    7                                                            accident. As a result,
    8                                                            these particular
    9                                                            photographs should be
   10                                                            excluded as not
   11                                                            tending to make any
   12                                                            fact of consequence in
   13                                                            this litigation more or
   14                                                            less probable. Fed. R.
   15                                                            Evid. 401-402. To the
   16                                                            extent Plaintiffs want
   17                                                            to depict the accident
   18                                                            site or wreckage for
   19                                                            some other purpose,
   20                                                            there are many
   21                                                            photographs they can
   22                                                            use which do not
   23                                                            depict the decedent in
   24                                                            this manner.
   25                                                            Prejudicial.
   26                                                            Photographs depicting
   27                                                            the deceased and/or
   28                                          18
           PRETRIAL ORDER                               CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS              WILL         WILL OFFER OBJ?
    1
                                            OFFER        IF NEEDED
    2                                                               blood should be
    3                                                                 excluded as having an
    4                                                                 undue tendency to
    5                                                                 cause the jury to
    6                                                                 decide the case on an
    7                                                                 emotional basis rather
    8                                                                 than on the evidence
    9                                                                 presented. Fed. R.
   10                                                                 Evid. 403, Adv.
   11                                                                 Comm. Notes.
   12                                                                 Because there is no
   13                                                                 probative value to
   14                                                                 these particular
   15                                                                 photographs, they
   16                                                                 should be excluded as
   17                                                                 unfairly prejudicial.
   18

   19                                                                 Defendants do not
   20                                                                 object to the non-
   21                                                                 photographic portions
   22                                                                 of the NCIS report
   23                                                                 being used.
   24      77.       NCIS Report Encl (D)   X                         Relevance. Plaintiffs
   25                                                                 have identified a
   26                                                                 diagram of the
   27                                                                 accident scene
   28                                               19
           PRETRIAL ORDER                                    CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          depicting decedent
    3                                                             under subject
    4                                                             helicopter
    5                                                             (specifically,;
    6                                                             MIL073377)
    7                                                             Defendants do not
    8                                                             dispute that the named
    9                                                             decedent died in the
   10                                                             accident. As a result,
   11                                                             this particular diagram
   12                                                             should be excluded as
   13                                                             not tending to make
   14                                                             any fact of
   15                                                             consequence in this
   16                                                             litigation more or less
   17                                                             probable. Fed. R.
   18                                                             Evid. 401-402. To the
   19                                                             extent Plaintiffs want
   20                                                             to depict the accident
   21                                                             site or wreckage for
   22                                                             some other purpose,
   23                                                             there are many
   24                                                             photographs they can
   25                                                             use which do not
   26                                                             depict the decedent in
   27                                                             this manner.
   28                                          20
           PRETRIAL ORDER                                CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS              WILL         WILL OFFER OBJ?
    1
                                            OFFER        IF NEEDED
    2                                                               Prejudicial. Diagrams
    3                                                                 depicting the deceased
    4                                                                 should be excluded as
    5                                                                 having an undue
    6                                                                 tendency to cause the
    7                                                                 jury to decide the case
    8                                                                 on an emotional basis
    9                                                                 rather than on the
   10                                                                 evidence presented.
   11                                                                 Fed. R. Evid. 403,
   12                                                                 Adv. Comm. Notes.
   13                                                                 Because there is no
   14                                                                 probative value to
   15                                                                 these particular
   16                                                                 photographs, they
   17                                                                 should be excluded as
   18                                                                 unfairly prejudicial.
   19

   20                                                                 Defendants do not
   21                                                                 object to other
   22                                                                 portions of the NCIS
   23                                                                 report being used.
   24      78.       NCIS Report Encl       X                         Relevance.
   25                Certificates/License                             Documents should be
   26                                                                 excluded as not
   27                                                                 tending to make any
   28                                               21
           PRETRIAL ORDER                                    CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS          WILL         WILL OFFER OBJ?
    1
                                        OFFER        IF NEEDED
    2                                                           fact of consequence to
    3                                                              the litigation more or
    4                                                              less probable. Fed. R.
    5                                                              Evid. 401-402.
    6

    7                                                              Character Evidence.
    8                                                              To the extent these
    9                                                              documents are used to
   10                                                              prove that on a
   11                                                              particular occasion
   12                                                              decedent acted in
   13                                                              accordance with the
   14                                                              character or trait, it
   15                                                              constitutes character
   16                                                              evidence, not subject
   17                                                              to any exception. Fed.
   18                                                              R. Evid. 404, 607–
   19                                                              609.
   20

   21                                                              Hearsay. Statements
   22                                                              in certificates not
   23                                                              subject to any hearsay
   24                                                              exception.
   25      79.       NCIS Report Encl   X                          Relevance. Plaintiffs
   26                Autopsy Report                                have identified a
   27                                                              number of accident
   28                                           22
           PRETRIAL ORDER                                 CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          scene photographs
    3                                                            from the NCIS report
    4                                                            depicting decedent
    5                                                            and/or blood under or
    6                                                            near subject helicopter
    7                                                            or during an autopsy.
    8                                                            (specifically,
    9                                                            MIL073354-73369;
   10                                                            MIL073375; and
   11                                                            MIL073415-442)
   12                                                            Defendants do not
   13                                                            dispute that the named
   14                                                            decedent died in the
   15                                                            accident. As a result,
   16                                                            these particular
   17                                                            photographs should be
   18                                                            excluded as not
   19                                                            tending to make any
   20                                                            fact of consequence in
   21                                                            this litigation more or
   22                                                            less probable. Fed. R.
   23                                                            Evid. 401-402. To the
   24                                                            extent Plaintiffs want
   25                                                            to depict the accident
   26                                                            site or wreckage for
   27                                                            some other purpose,
   28                                          23
           PRETRIAL ORDER                               CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          there are many
    3                                                            photographs they can
    4                                                            use which do not
    5                                                            depict the decedent in
    6                                                            this manner.
    7                                                            Prejudicial.
    8                                                            Photographs depicting
    9                                                            the deceased and/or
   10                                                            blood should be
   11                                                            excluded as having an
   12                                                            undue tendency to
   13                                                            cause the jury to
   14                                                            decide the case on an
   15                                                            emotional basis rather
   16                                                            than on the evidence
   17                                                            presented. Fed. R.
   18                                                            Evid. 403, Adv.
   19                                                            Comm. Notes.
   20                                                            Because there is no
   21                                                            probative value to
   22                                                            these particular
   23                                                            photographs, they
   24                                                            should be excluded as
   25                                                            unfairly prejudicial.
   26

   27

   28                                          24
           PRETRIAL ORDER                               CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS          WILL         WILL OFFER OBJ?
    1
                                        OFFER        IF NEEDED
    2                                                           Defendants do not
    3                                                             object to the non-
    4                                                             photographic portions
    5                                                             of the NCIS report
    6                                                             being used.
    7      80.       Personnel File –   X                         Relevance.
    8                Certificates &                               Documents should be
    9                Commendations                                excluded as not
   10                                                             tending to make any
   11                                                             fact of consequence to
   12                                                             the litigation more or
   13                                                             less probable. Fed. R.
   14                                                             Evid. 401-402.
   15

   16                                                             Character Evidence.
   17                                                             To the extent these
   18                                                             documents are used to
   19                                                             prove that on a
   20                                                             particular occasion
   21                                                             decedent acted in
   22                                                             accordance with the
   23                                                             character or trait, it
   24                                                             constitutes character
   25                                                             evidence, not subject
   26                                                             to any exception. Fed.
   27

   28                                           25
           PRETRIAL ORDER                                CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS              WILL         WILL OFFER OBJ?
    1
                                            OFFER        IF NEEDED
    2                                                               R. Evid. 404, 607–
    3                                                                 609.
    4

    5                                                                 Hearsay. Statements
    6                                                                 in certificates not
    7                                                                 subject to any hearsay
    8                                                                 exception.
    9      81.       Non-Commissioned       X                         Relevance.
   10                Officer Certificates                             Documents should be
   11                [MIL072941–42]                                   excluded as not
   12                                                                 tending to make any
   13                                                                 fact of consequence to
   14                                                                 the litigation more or
   15                                                                 less probable. Fed. R.
   16                                                                 Evid. 401-402.
   17

   18                                                                 Character Evidence.
   19                                                                 To the extent these
   20                                                                 documents are used to
   21                                                                 prove that on a
   22                                                                 particular occasion
   23                                                                 decedent acted in
   24                                                                 accordance with the
   25                                                                 character or trait, it
   26                                                                 constitutes character
   27                                                                 evidence, not subject
   28                                               26
           PRETRIAL ORDER                                    CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS           WILL         WILL OFFER OBJ?
    1
                                         OFFER        IF NEEDED
    2                                                            to any exception. Fed.
    3                                                               R. Evid. 404, 607–
    4                                                               609.
    5

    6                                                               Hearsay. Statements
    7                                                               in certificates not
    8                                                               subject to any hearsay
    9                                                               exception.
   10      82.       SD-552-3                         X
   11                (Preliminary)
   12                [SIK014944–15102]
   13      83.       Death Certificate                              Relevance.
   14                [DF-00229]                                     Defendants do not
   15                                                               dispute that the named
   16                                                               decedent died in the
   17                                                               accident. As a result,
   18                                                               the death certificate
   19                                                               should be excluded as
   20                                                               not tending to make
   21                                                               any fact of
   22                                                               consequence in this
   23                                                               litigation more or less
   24                                                               probable. Fed. R.
   25                                                               Evid. 401-402.
   26                                                               Prejudicial. Death
   27                                                               certificate should be
   28                                            27
           PRETRIAL ORDER                                  CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS               WILL         WILL OFFER OBJ?
    1
                                             OFFER        IF NEEDED
    2                                                                excluded as having an
    3                                                                   undue tendency to
    4                                                                   cause the jury to
    5                                                                   decide the case on an
    6                                                                   emotional basis rather
    7                                                                   than on the evidence
    8                                                                   presented. Fed. R.
    9                                                                   Evid. 403, Adv.
   10                                                                   Comm. Notes.
   11                                                                   Because there is no
   12                                                                   probative value to this
   13                                                                   particular document, it
   14                                                                   should be excluded as
   15                                                                   unfairly prejudicial.
   16      84.       Dependency
   17                Documents
   18                [DF-00230–370]
   19      85.       W-2s                                 X
   20                [DF-00389–396]
   21      86.       Fontalvo Family         X                          Not provided.
   22                Photos: Before Mishap                              Plaintiffs have not
   23                                                                   provided defendants
   24                                                                   with these exhibits.
   25                                                                   Plaintiffs’ production
   26                                                                   therefore fails to give
   27                                                                   defendants sufficient
   28                                                28
           PRETRIAL ORDER                                      CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          notice of the
    3                                                             documents the
    4                                                             Plaintiffs will
    5                                                             introduce at trial, fails
    6                                                             to allow defendants to
    7                                                             meaningfully object
    8                                                             specifically to the
    9                                                             admissibility of those
   10                                                             documents, and fails
   11                                                             to facilitate the
   12                                                             introduction of
   13                                                             evidence at trial as
   14                                                             required by Fed. R.
   15                                                             Civ. P. 26(a)(3)(A)(iii)
   16

   17                                                             Relevance. Family
   18                                                             photographs should be
   19                                                             excluded as not
   20                                                             tending to make any
   21                                                             fact of consequence in
   22                                                             this litigation more or
   23                                                             less probable. Fed. R.
   24                                                             Evid. 401-402.
   25                                                             Prejudicial. Family
   26                                                             photographs should be
   27                                                             excluded as having an
   28                                          29
           PRETRIAL ORDER                                CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS              WILL         WILL OFFER OBJ?
    1
                                            OFFER        IF NEEDED
    2                                                               undue tendency to
    3                                                                 cause the jury to
    4                                                                 decide the case on an
    5                                                                 emotional basis rather
    6                                                                 than on the evidence
    7                                                                 presented. Fed. R.
    8                                                                 Evid. 403, Adv.
    9                                                                 Comm. Notes.
   10                                                                 Because there is no
   11                                                                 probative value to
   12                                                                 these particular
   13                                                                 documents, they
   14                                                                 should be excluded as
   15                                                                 unfairly prejudicial.
   16      87.       Fontalvo Family        X                         Not provided.
   17                Photos: After Mishap                             Plaintiffs have not
   18                                                                 provided defendants
   19                                                                 with these exhibits.
   20                                                                 Plaintiffs’ production
   21                                                                 therefore fails to give
   22                                                                 defendants sufficient
   23                                                                 notice of the
   24                                                                 documents the
   25                                                                 Plaintiffs will
   26                                                                 introduce at trial, fails
   27                                                                 to allow defendants to
   28                                               30
           PRETRIAL ORDER                                    CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          meaningfully object
    3                                                            specifically to the
    4                                                            admissibility of those
    5                                                            documents, and fails
    6                                                            to facilitate the
    7                                                            introduction of
    8                                                            evidence at trial as
    9                                                            required by Fed. R.
   10                                                            Civ. P. 26(a)(3)(A)(iii)
   11

   12                                                            Relevance. Family
   13                                                            photographs should be
   14                                                            excluded as not
   15                                                            tending to make any
   16                                                            fact of consequence in
   17                                                            this litigation more or
   18                                                            less probable. Fed. R.
   19                                                            Evid. 401-402.
   20                                                            Prejudicial. Family
   21                                                            photographs should be
   22                                                            excluded as having an
   23                                                            undue tendency to
   24                                                            cause the jury to
   25                                                            decide the case on an
   26                                                            emotional basis rather
   27                                                            than on the evidence
   28                                          31
           PRETRIAL ORDER                               CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS                 WILL         WILL OFFER OBJ?
    1
                                               OFFER        IF NEEDED
    2                                                                  presented. Fed. R.
    3                                                                     Evid. 403, Adv.
    4                                                                     Comm. Notes.
    5                                                                     Because there is no
    6                                                                     probative value to
    7                                                                     these particular
    8                                                                     documents, they
    9                                                                     should be excluded as
   10                                                                     unfairly prejudicial.
   11      88.       May 2014 (Cherry                       X
   12                Point) and October
   13                2015 (Miramar)
   14                Inspection Photos of J.
   15                Bloomfield
   16      89.       October 2015 Miramar                   X             Not provided.
   17                Inspection Photos of L.                              Plaintiffs have not
   18                Coffman                                              provided defendants
   19                                                                     with these exhibits.
   20                                                                     Plaintiffs’ production
   21                                                                     therefore fails to give
   22                                                                     defendants sufficient
   23                                                                     notice of the
   24                                                                     documents the
   25                                                                     Plaintiffs will
   26                                                                     introduce at trial, fails
   27                                                                     to allow defendants to
   28                                                  32
           PRETRIAL ORDER                                        CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS                 WILL         WILL OFFER OBJ?
    1
                                               OFFER        IF NEEDED
    2                                                                  meaningfully object
    3                                                                    specifically to the
    4                                                                    admissibility of those
    5                                                                    documents, and fails
    6                                                                    to facilitate the
    7                                                                    introduction of
    8                                                                    evidence at trial as
    9                                                                    required by Fed. R.
   10                                                                    Civ. P. 26(a)(3)(A)(iii)
   11      90.       January 2016 SEAL         X
   12                Inspection Microscopic
   13                Photos
   14      91.       January 2016 SEAL         X
   15                Inspection Photos of J.
   16                Bloomfield
   17      92.       January 2016 SEAL         X                         Not provided.
   18                Inspection Photos of L.                             Plaintiffs have not
   19                Coffman                                             provided defendants
   20                                                                    with these exhibits.
   21                                                                    Plaintiffs’ production
   22                                                                    therefore fails to give
   23                                                                    defendants sufficient
   24                                                                    notice of the
   25                                                                    documents the
   26                                                                    Plaintiffs will
   27                                                                    introduce at trial, fails
   28                                                  33
           PRETRIAL ORDER                                       CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS            WILL         WILL OFFER OBJ?
    1
                                          OFFER        IF NEEDED
    2                                                             to allow defendants to
    3                                                                meaningfully object
    4                                                                specifically to the
    5                                                                admissibility of those
    6                                                                documents, and fails
    7                                                                to facilitate the
    8                                                                introduction of
    9                                                                evidence at trial as
   10                                                                required by Fed. R.
   11                                                                Civ. P. 26(a)(3)(A)(iii)
   12      93.       August 2016 EAG      X
   13                Inspection Hirox
   14                Microscopic Photos
   15      94.       Report of Casualty   X                          Relevance.
   16                [MIL072925]                                     Defendants do not
   17                                                                dispute that the named
   18                                                                decedent died in the
   19                                                                accident. As a result,
   20                                                                the military report of
   21                                                                casualty should be
   22                                                                excluded as not
   23                                                                tending to make any
   24                                                                fact of consequence in
   25                                                                this litigation more or
   26                                                                less probable. Fed. R.
   27                                                                Evid. 401-402.
   28                                             34
           PRETRIAL ORDER                                   CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          Prejudicial. Report of
    3                                                             casualty should be
    4                                                             excluded as having an
    5                                                             undue tendency to
    6                                                             cause the jury to
    7                                                             decide the case on an
    8                                                             emotional basis rather
    9                                                             than on the evidence
   10                                                             presented. Fed. R.
   11                                                             Evid. 403, Adv.
   12                                                             Comm. Notes.
   13                                                             Because there is no
   14                                                             probative value to this
   15                                                             particular document, it
   16                                                             should be excluded as
   17                                                             unfairly prejudicial.
   18      95.       Citation for      X                          Relevance.
   19                Achievement                                  Documents should be
   20                [MIL072953–54]                               excluded as not
   21                                                             tending to make any
   22                                                             fact of consequence to
   23                                                             the litigation more or
   24                                                             less probable. Fed. R.
   25                                                             Evid. 401-402.
   26

   27

   28                                          35
           PRETRIAL ORDER                                CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS           WILL         WILL OFFER OBJ?
    1
                                         OFFER        IF NEEDED
    2                                                            Character Evidence.
    3                                                              To the extent these
    4                                                              documents are used to
    5                                                              prove that on a
    6                                                              particular occasion
    7                                                              decedent acted in
    8                                                              accordance with the
    9                                                              character or trait, it
   10                                                              constitutes character
   11                                                              evidence, not subject
   12                                                              to any exception. Fed.
   13                                                              R. Evid. 404, 607–
   14                                                              609.
   15      96.       Diagram of          X
   16                cockpit/control
   17                panel/aircraft
   18                [MIL010428–30]
   19      97.       NATOPS Flight                    X
   20                Manual (01 April
   21                2010) [MIL010356–
   22                10911]
   23      98.       NATOPS Flight                    x
   24                Manual (15 March
   25                2006) [MIL008897–
   26                9446]
   27

   28                                            36
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          No.        DOCUMENTS               WILL         WILL OFFER OBJ?
    1
                                             OFFER        IF NEEDED
    2      99.       NATOPS Flight                        X
    3                Manual (1 July 2012)
    4                [MIL012064–13101]
    5      100. NATOPS Flight                             X
    6                Manual (1 January
    7                2015) [MIL014570–
    8                15069]
    9      101. A1-H53BE-NFM-500                          X
   10                Change Notice [Coffin
   11                Ex. 14]
   12      102. Naval Air Test Ctr           X                         Relevance. Document
   13                Deficiency Report                                 is unrelated to the
   14                [SIK016496–99]                                    components plaintiffs
   15                                                                  allege caused the
   16                                                                  accident. Document
   17                                                                  should be excluded as
   18                                                                  not tending to make
   19                                                                  any fact of
   20                                                                  consequence to the
   21                                                                  litigation more or less
   22                                                                  probable. Fed. R.
   23                                                                  Evid. 401-402.
   24      103. Hot Line Report              X
   25                [SIK011191–92]
   26

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   28                                                37
           PRETRIAL ORDER                                     CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS            WILL         WILL OFFER OBJ?
    1
                                          OFFER        IF NEEDED
    2      104. Materials Engineering                  X
    3                Report [SIK008344–
    4                8352]
    5      105. Stelzer Ex. 21                         X            Relevance. Document
    6                                                               should be excluded as
    7                                                               not tending to make
    8                                                               any fact of
    9                                                               consequence to the
   10                                                               litigation more or less
   11                                                               probable. Fed. R.
   12                                                               Evid. 401-402.
   13

   14                                                               Cumulative,
   15                                                               confusing,
   16                                                               misleading. Any
   17                                                               slight probative value
   18                                                               of these photographs
   19                                                               is substantially
   20                                                               outweighed by the
   21                                                               danger of confusing
   22                                                               the issues, misleading
   23                                                               the jury, and wasting
   24                                                               time. Fed. R. Evid.
   25                                                               401-403.
   26

   27

   28                                             38
           PRETRIAL ORDER                                  CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          Lacks Foundation.
    3                                                            Wire in photograph
    4                                                            not identified. Fed. R.
    5                                                            Evid. 602
    6

    7                                                            Best Evidence. Low
    8                                                            resolution copy of
    9                                                            wire provided to
   10                                                            witness. Fed. R. Evid.
   11                                                            1002.
   12      106. Stelzer Ex. 26         X                         Same as objections to
   13                                                            No. 105.
   14      107. Stelzer 27             X                         Same as objections to
   15                                                            No. 105.
   16      108. Stelzer 28             X                         Same as objections to
   17                                                            No. 105.
   18      109. Stelzer 30             X                         Same as objections to
   19                                                            No. 105.
   20      110. Stelzer 31             X                         Same as objections to
   21                                                            No. 105.
   22      111. Stelzer 32             X                         Same as objections to
   23                                                            No. 105.
   24
           112. Stelzer 35                          X
   25
   26

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   28                                          39
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          No.        DOCUMENTS                WILL         WILL OFFER OBJ?
    1
                                              OFFER        IF NEEDED
    2      113. Stelzer 36                                 X          Incomplete
    3                                                                   document. Fed. R.
    4                                                                   Evid. 106
    5      114. Stelzer 39                    X                         Same as objections to
    6                                                                   No. 105.
    7      115. Stelzer 40                    X                         Same as objections to
    8                                                                   No. 105.
    9      116. DoD Guidelines for            X
   10                Inspection of Aircraft
   11                Electrical Wiring
   12                Interconnect Systems
   13      117. Technical Manual:             X                         Incomplete
   14                Landing Gear Systems                               document. Fed. R.
   15                [MIL053005–053053]                                 Evid. 106
   16      118. CV: J. Bloomfield             X                         Objection if the Court
   17                                                                   excludes testimony by
   18                                                                   witness.
   19      119. CV: Lee Coffman               X                         Objection if the Court
   20                                                                   excludes testimony by
   21                                                                   witness.
   22
           120. CV: Col. Wm.                  X                         Objection if the Court
   23
                     Lawrence                                           excludes testimony by
   24
                                                                        witness.
   25
   26

   27

   28                                                 40
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          No.        DOCUMENTS           WILL         WILL OFFER OBJ?
    1
                                         OFFER        IF NEEDED
    2      121. CV: J. Reynolds          X                       Objection if the Court
    3                                                               excludes testimony by
    4                                                               witness.
    5      122. CV: J. Knox              X
    6      123. CV: D. Fractor           X
    7      124. CV: R. Ostrowski         X
    8      125. CV: J. Wakefield         X
    9      126. Loss Analysis [Fractor   X
   10                Ex. 4]
   11      127. Fractor Ex. 5            X
   12      128. Fractor 6                             X
   13      129. Fractor 7                             X
   14      130. Fractor 12                            X             Hearsay. Out of court
   15
                                                                    statements not subject
   16
                                                                    to any hearsay
   17
                                                                    exception. Fed. R.
   18
                                                                    Evid. 802 and 803.
   19
                                                                    Fed. R. Evid. 703.
   20
           131. Fractor 14                            X
   21
           132. Fractor 15                            X
   22
           133. Knox 5                   X
   23
           134. Ostrowski 12             X
   24
           135. Reynolds 11              X                          Relevance. Document
   25
                                                                    should be excluded as
   26
                                                                    not tending to make
   27

   28                                            41
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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          any fact of
    3                                                            consequence to the
    4                                                            litigation more or less
    5                                                            probable. Fed. R.
    6                                                            Evid. 401-402.
    7

    8                                                            Cumulative,
    9                                                            confusing,
   10                                                            misleading. Any
   11                                                            slight probative value
   12                                                            of these photographs
   13                                                            is substantially
   14                                                            outweighed by the
   15                                                            danger of confusing
   16                                                            the issues, misleading
   17                                                            the jury, and wasting
   18                                                            time. Fed. R. Evid.
   19                                                            401-403.
   20

   21                                                            Lacks Foundation.
   22                                                            Wire in photograph
   23                                                            not identified. Fed. R.
   24                                                            Evid. 602
   25
   26                                                            Best Evidence. Low
   27                                                            resolution copy of
   28                                          42
           PRETRIAL ORDER                               CASE NO. 3:13-CV-00331-GPC-KSC

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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2                                                          wire provided to
    3                                                            witness. Fed. R. Evid.
    4                                                            1002.
    5      136. Reynolds 12            X                         Same as objections to
    6                                                            No. 135.
    7      137. Reynolds 15            X                         Same as objections to
    8                                                            No. 135.
    9      138. Reynolds 16            X                         Same as objections to
   10                                                            No. 135.
   11      139. Reynolds 18            X                         Incomplete
   12                                                            document. Fed. R.
   13                                                            Evid. 106
   14      140. Reynolds 20            X                         Incomplete
   15                                                            document. Fed. R.
   16                                                            Evid. 106
   17      141. Reynolds 22            X                         Same as objections to
   18                                                            No. 135.
   19      142. Reynolds 23            X                         Same as objections to
   20                                                            No. 135.
   21
           143. Reynolds 24            X                         Same as objections to
   22
                                                                 No. 135.
   23
           144. Reynolds 26            X
   24
           145. Reynolds 27            X
   25
           146. Reynolds 29            X
   26

   27

   28                                          43
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          No.        DOCUMENTS         WILL         WILL OFFER OBJ?
    1
                                       OFFER        IF NEEDED
    2     147. Mt. Soledad Plaque      X                       Not provided.
    3                Proof                                       Plaintiffs have not
    4                                                            provided defendants
    5                                                            with these exhibits.
    6                                                            Plaintiffs’ production
    7                                                            therefore fails to give
    8                                                            defendants sufficient
    9                                                            notice of the
   10                                                            documents the
   11                                                            Plaintiffs will
   12                                                            introduce at trial, fails
   13                                                            to allow defendants to
   14                                                            meaningfully object
   15                                                            specifically to the
   16                                                            admissibility of those
   17                                                            documents, and fails
   18                                                            to facilitate the
   19                                                            introduction of
   20                                                            evidence at trial as
   21                                                            required by Fed. R.
   22                                                            Civ. P. 26(a)(3)(A)(iii)
   23     148. Order Granting Name
   24                Change
   25
   26
                                     Defendants’ Exhibits
   27

   28                                          44
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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
              A      H-53 Test and Evaluation of Arc Fault          X               Lacks
    3
                     Circuit Breaker (Montes de Oca – 2;                         Foundation,
    4                                                                              Hearsay,
                     MIL219135-219145)
    5                                                                            Inadmissible

    6                                                                           Opinion under
                                                                                FRE 701/702
    7
              B      2007 System Safety Working Group               X           Lacks
    8                                                                           Foundation,
                     (Montes de Oca – 3; MIL007319-                             Hearsay,
    9                                                                           Inadmissible
                     MIL007406)                                                 Opinion under
   10                                                                           FRE 701/702
   11
              C      5/6/11 E-Mail re: HMH-361 MCAS                        X        Lacks
   12
                     Miramar Mishap (Bassignani – 2;                             Foundation,
   13
                                                                                   Hearsay,
   14
                     SIK011202-SIK011211)
                                                                                 Inadmissible
   15                                                                           Opinion under
   16                                                                           FRE 701/702

   17         D      Photos of Parts Taken from Landing Gear               X
   18                Control Panel (Bassignani – 3;
   19                SIK010893-SIK010895; SIK010887)
   20         E      7/15/11 Joint Deficiency Reporting             X           Inadmissible
                                                                                Conclusions
   21                System EI Final Report for Landing Gear                    under 10 USC
                                                                                2254; Lacks
   22                Control Panel (Bassignani – 4;                             Foundation,
                                                                                Hearsay,
   23                MIL006488-MIL006490)                                       Inadmissible
                                                                                Opinion under
   24                                                                           FRE 701/702

   25
              F      7/15/11 Joint Deficiency Reporting             X            Inadmissible
   26
                     System EI Final Report for Strut                            Conclusions
   27                                                                           under 10 USC
   28                                                   45
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           Exh. Exhibit Description                           Expect   Ma        Obj.
    1      No.                                                to Use    y
    2                                                                  Use
                     Assembly, Main Landing Gear Drag                         2254; Lacks
    3
                     (Bassignani – 5; MIL006484-MIL006487)                    Foundation,
    4                                                                          Hearsay,
    5                                                                         Inadmissible

    6                                                                        Opinion under
                                                                             FRE 701/702
    7
              G      Enclosure 40: Steps Taken to                       X
    8
                     Troubleshoot Mishap on Aircraft 69
    9
                     (Bassignani – 6; MIL073203-MIL073204)
   10
              H      March 1999 Presentation re: CH/MH-53E       X
   11
                     Action CHIT (Mellen - 2; MIL219671-
   12

   13
                     MIL219724)
              I      2/12/97 Presentation re: PMA-261 CH-        X            Inadmissible
   14
                     53D & CH-53E Helicopter Program                          Conclusions
   15
                                                                             under 10 USC
   16                (Mellen – 3; MIL 120264-MIL120280)
                                                                              2254; Lacks
   17                                                                         Foundation,
   18                                                                          Hearsay,

   19                                                                         Inadmissible
                                                                             Opinion under
   20
                                                                             FRE 701/702
   21
              J      10/23/97 Presentation re: H-53 and          X            Inadmissible
   22
                     Executive Helicopters Program – POM-00                   Conclusions
   23                                                                        under 10 USC
                     NALG “B” Code Review (Mellen – 4;
   24                                                                         2254; Lacks
                     MIL120702-MIL120735)
   25                                                                         Foundation,

   26                                                                          Hearsay,
                                                                              Inadmissible
   27

   28                                                46
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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
                                                                                Opinion under
    3
                                                                                FRE 701/702
    4         K      Executive Summary, Technical                   X            Inadmissible
    5                Concurrence and Risk Acceptance                             Conclusions

    6                                                                           under 10 USC
                     Signature Sheet for H-53E Kapton
                                                                                 2254; Lacks
    7                Eletrical Wiring SSRA (Mellen – 5;
                                                                                 Foundation,
    8                MIL230430-MIL230440)                                          Hearsay,
    9
                                                                                 Inadmissible
   10                                                                           Opinion under
   11                                                                           FRE 701/702
   12         L      7/8/09 Presentation re: H-53 Heavy Lift        X            Inadmissible

   13                Helicopters Risk Acceptance Update                          Conclusions
                                                                                under 10 USC
   14                (Mellen – 6; MIL242476-MIL242480)
                                                                                 2254; Lacks
   15
                                                                                 Foundation,
   16                                                                              Hearsay,
   17                                                                            Inadmissible
   18                                                                           Opinion under

   19                                                                           FRE 701/702

   20         M      7/22/11 E-Mail re: RFI (Mellen – 7;            X           Inadmissible
                                                                                Conclusions
                     MIL073303)                                                 under 10 USC
   21                                                                           2254; Lacks
                                                                                Foundation,
   22                                                                           Hearsay,
                                                                                Inadmissible
   23                                                                           Opinion under
                                                                                FRE 701/702
   24

   25
              N      9/15/09 NAVAIR 01-1A-505-1: Wire               X
   26
                     Characteristics, Replacement and
   27

   28                                                   47
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           Exh. Exhibit Description                             Expect   Ma       Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
                     Inspection Techniques (Muja – 1;
    3
                     MIL000155-MIL000189)
    4
              O      Materials Test Report No. 27-83:              X
    5
                     Correlation of Damage to Kapton Wire
    6
                     Insulation with Properties and
    7
                     Constituents of Four Aircraft Cleaners
    8
                     (Muja – 2; MIL104923-MIL104936)
    9
              P      8/4/83 NRL Memorandum Report 5158:            X
   10
                     Temperature Dependence of Hydrolysis of
   11
                     Polyimide Wire Insulation (Muja – 3;
   12
                     MIL104962-MIL104988)
   13
              Q      (December 1984) Flashover Failures from       X
   14
                     Wet-Wire Arcing and Tracking (Muja – 4;
   15
                     MIL000239-MIL000254)
   16
              R      January 1986 Navy Memo re: Forwarding         X
   17
                     of Summary of Electrical Harness Testing
   18
                     (Muja – 5; MIL000017-MIL000064)
   19
              S      6/4/02 Memo re: H-53E Kapton Electrical       X
   20
                     Wiring Risk Assessment (Muja – 6;
   21
                     MIL224294-MIL224312)
   22

   23
              T      12/6/85 Navy Memo re: Aircraft Wire           X

   24
                     (Muja – 7; MIL152801)

   25
              U      12/13/85 Navy Memo re: Aircraft Wire          X

   26                (Muja – 8; MIL152802)

   27

   28                                                   48
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           Exh. Exhibit Description                             Expect   Ma       Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
              V      2/21/86 Navy Memo re: Aircraft Wire           X
    3
                     (Muja – 9; MIL152808-MIL152811)
    4
              W      1/29/86 Du Pont Position re: Navy             X
    5
                     Decision to Remove MIL-W-81381 Wires
    6
                     from MIL-W-5088 for New Navy Aircraft
    7
                     Electrical Systems (Muja – 10;
    8
                     MIL000015-MIL000016)
    9
              X      11/10/86 Sikorsky Letter to Navy re:          X
   10
                     Contract N00019-85-C-0066, Letter of
   11
                     Intent, MH-53E and CH-53E Helicopters,
   12
                     Replacement of MIL-W-81381 (Muja –
   13
                     11; MIL247341-MIL247342)
   14
              Y      5/7/87 Navy Memo re: Aircraft Wire            X
   15
                     (Muja – 12; MIL152805-MIL152807)
   16
              Z      5/8/87 Navy Memo re:                          X
   17
                     Replacement/Repair of Aircraft Wire
   18
                     (Muja – 13; MIL103307-MIL103309)
   19
           AA        7/7/87 Navy Memo re: Status of Kapton         X
   20
                     Wire in NAVAIR Aircraft (Muja – 14;
   21

   22
                     MIL152796-MIL152800)

   23
           AB        7/22/87 Navy Memo re: Status of Kapton        X

   24
                     Wire in H-53 Aircraft (Muja – 15;

   25
                     MIL152795)

   26      AC        10/26/87 Sikorsky Letter to Navy re:          X

   27                Contract N00019-85-C-0066, Letter of

   28                                                 49
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           Exh. Exhibit Description                             Expect   Ma       Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
                     Intent, Replacement of MIL-W-81381
    3
                     with MIL-W-22759 (Muja – 16;
    4
                     MIL103247)
    5
           AD        2/6/89 Navy Memo re: Aircraft General         X
    6
                     Use Interconnect Hookup Wiring (Muja –
    7
                     17; MIL000006)
    8
           AE        10/18/91 Navy Memo re: Policy Statement       X
    9
                     on Naval Aerospace Interconnect Wire
   10
                     Requirements (Muja – 18; MIL000261-
   11
                     MIL000265)
   12
            AF       12/6/91 Memo re: CH-53E/MH-53E R&M            X
   13
                     Failure Summary Report (Muja – 19;
   14
                     MIL152817)
   15
           AG        12/16/92 Navy Memo re: Naval Aircraft         X
   16
                     Wiring Systems Depot Examination
   17
                     Criteria (Muja – 20; MIL000193-
   18
                     MIL000201)
   19
           AH        Minutes of the 12th H-53 System Safety        X
   20
                     Working Group Meeting (Muja – 21;
   21

   22
                     MIL006641-MIL006646)

   23
            AI       (December 1995) Minutes of the 12th H-53      X

   24
                     System Safety Working Group Meeting

   25
                     (Muja – 22; MIL007613-MIL007625)

   26       AJ       Minutes for H-53E SLEP Kit ECP                X

   27                Coordination Meetings on 9/25/96 and

   28                                                  50
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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
                     10/3/96 (Muja – 23; MIL216436-
    3
                     MIL216443)
    4
           AK        Presentation re: PMA-261 1998 NATOPS           X
    5
                     Conference (Muja – 24; MIL124765-
    6
                     MIL124783)
    7
           AL        11/27/98 Memo re: Minutes of H-53              X
    8
                     Service Life Extension Program (SLEP)
    9
                     Fact Finding Meeting from November 23-
   10
                     24, 1998 (Muja – 25; MIL127078-
   11
                     MIL127097)
   12
           AM        6/7/02 Navy Memo re: 2002 H-53 Annual          X
   13
                     Fleet Support Team (AFST) Conference
   14
                     Minutes (Muja – 26; MIL219288-
   15
                     MIL219352)
   16
           AN        Summary of H-53E Wiring Incidents              X
   17
                     From 1/1/87 through 4/15/02 (Muja – 27;
   18
                     MIL006582 – MIL006595)
   19
           AO        NAVAIR Presentation re: H-53 Fleet             X
   20
                     Support Team Meeting for 2008 System
   21

   22
                     Safety Working Group on 5/12/08 (Muja –

   23
                     28; MIL007414-MIL007519)
            AP       H-53 Safety Action Record (SAR) re:            X            Inadmissible
   24
                     Deterioration of Electrical Wiring for                      Conclusions
   25
                                                                                under 10 USC
   26                CH/MH-53E (Muja – 29; MIL006497-
                                                                                 2254; Lacks
   27                MIL006503)
                                                                                 Foundation,
   28                                                  51
           PRETRIAL ORDER                                      CASE NO. 3:13-CV-00331-GPC-KSC

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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
                                                                                  Hearsay,
    3
                                                                                 Inadmissible
    4                                                                           Opinion under
    5                                                                           FRE 701/702

    6      AQ        Interim Rapid Action Change (IRAC) No.         X
    7                1 to 9/15/09 NAVAIR 01-1A-505-1 DTD
    8                Manual (Muja – 30; MIL000190-
    9                MIL000192)
   10      AR        H-53 Safety Action Record (SAR) re:            X            Inadmissible

   11                Deterioration of Electrical Wiring for                      Conclusions
                                                                                under 10 USC
   12                CH/MH-53E (Althizer – 2; MIL006497-
                                                                                 2254; Lacks
   13                MIL006503)
                                                                                 Foundation,
   14                                                                             Hearsay,
   15                                                                            Inadmissible
   16                                                                           Opinion under

   17                                                                           FRE 701/702

   18       AS       12/6/85 Navy Memo re: Aircraft Wire            X

   19                (Althizer – 3; MIL152801)

   20      AT        12/13/85 Navy Memo re: Aircraft Wire           X

   21                (Althizer – 4; MIL152802)

   22      AU        2/21/86 Navy Memo re: Aircraft Wire            X
   23                (Althizer – 5; MIL152808-MIL152811)
   24      AV        8/10/16 NAVAIR News Release re: 3-                    X
   25                Year Effort to Repair All 147 Aging CH-
   26                53E Helicopters (Althizer – 6; No Bates
   27                Labels)
   28                                                  52
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           Exh. Exhibit Description                               Expect   Ma       Obj.
    1      No.                                                    to Use    y
    2                                                                      Use
           AW        HQMC Briefing on the CH-53 Program                     x
    3
                     (Leigh – 4; MIL136857-MIL136886)
    4
           AX        February 1973 U.S. General Accounting           X
    5
                     Office Staff Study of CH-53E Helicopter
    6
                     (Leigh – 5; No Bates Label)
    7
           AY        H-53 Production Delivery Log from               X
    8
                     December 1980 through December 1982
    9
                     (Leigh – 6; SIK022630-SIK022634)
   10
           AZ        N00019-75-C-0267 Contract (Leigh – 7;           X
   11
                     SIK022552-SIK022629)
   12
           BA        4/16/75 Sikorsky Aircraft Landing Gear          X
   13
                     Design Report for Model CH-53E (Leigh
   14
                     – 8; SIK025422-SIK025447)
   15
           BB        3/25/76 Sikorsky Aircraft Electrical            X
   16
                     Performance Test Plan for the Production
   17
                     Prototype Phase II CH-53E Helicopter
   18
                     (Leigh – 9; SIK012726-SIK012735)
   19

   20
           BC        6/2/76 Navy Memo to Sikorsky Aircraft                  x

   21
                     re: Contract N00019-75-C-0267 for Model

   22
                     CH-53E Helicopter, Contract Data

   23
                     Requirement, and Electrical Performance

   24
                     Test Plan (Leigh – 10; SIK022550-

   25
                     SIK022551)

   26      BD        9/10/77 Sikorsky Aircraft CH-53E                X

   27                Production Helicopter Sub-System Design

   28                                                 53
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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
                     Report (Leigh – 11; SIK013745-
    3
                     SIK013994)
    4
           BE        11/20/75 Naval Speedletter re: Model           X
    5
                     YCH-53E Helicopter, Release for NPE II
    6
                     Flights, and Authorization (Leigh – 12;
    7
                     SIK017311-SIK017316)
    8
           BF        4/30/85 Contract No. N00019-85-C-0066          X
    9
                     Between Navy and UTC/Sikorsky Aircraft
   10
                     Division (Leigh – 16; SIK006862-
   11
                     SIK007008)
   12
           BG        6/22/82 Detail Specification SD-552-3-9        X
   13
                     for Model CH-53E Helicopters (Leigh –
   14
                     17; SIK007009-SIK007204)
   15
           BH        12/24/63 Military Specification MIL-W-         X
   16
                     5088F: Wiring, Aerospace Vehicle (Leigh
   17
                     – 18; MIL210455-MIL210515)
   18
            BI       6/5/15 Final Report of the CH-53E Super        X            Inadmissible
   19
                     Stallion Independent Readiness Review                       Conclusions
   20
                                                                                under 10 USC
                     (SSIRR) (Bassett – 3; MIL259969-
   21                                                                            2254; Lacks
   22
                     MIL260039)
                                                                                 Foundation,
   23                                                                             Hearsay,

   24                                                                            Inadmissible
                                                                                Opinion under
   25
                                                                                FRE 701/702
   26

   27

   28                                                 54
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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
            BJ       H-53 Safety Action Record (SAR) re:            X            Inadmissible
    3
                     Deterioration of Electrical Wiring in                       Conclusions
    4                                                                           under 10 USC
                     C/MH-53E Aircraft (Fletcher – 1;
    5                                                                            2254; Lacks
                     MIL006497-MIL006503)
    6                                                                            Foundation,
                                                                                  Hearsay,
    7
                                                                                 Inadmissible
    8
                                                                                Opinion under
    9
                                                                                FRE 701/702
   10
           BK        NAVAIR Presentation re: H-53 Fleet             X
   11
                     Support Team Meeting for 2008 System
   12
                     Safety Working Group on 5/12/08
   13
                     (Fletcher – 2; MIL007414-MIL007519)
   14
           BL        NAVAIR Presentation re: H-53 Fleet             X
   15
                     Support Team Meeting for 2009 System
   16
                     Safety Working Group on 7/27/09
   17
                     (Fletcher – 3; MIL007520-MIL007612)
   18
           BM        Summary of H-53 Top 10 Safety Concerns         X
   19
                     for FY01 to FY05 (Fletcher – 4;
   20
                     MIL006528-MIL006540)
   21
           BN        Minutes of the 12th H-53 System Safety         X
   22
                     Working Group Meeting (Jordan – 1;
   23
                     MIL006641-MIL006646)
   24
           BO        May 2009 H-53E Airframe Bulletin               X
   25
                     (AFB) No. 328 re: Inspection of Forward
   26

   27

   28                                                  55
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           Exh. Exhibit Description                               Expect   Ma       Obj.
    1      No.                                                    to Use    y
    2                                                                      Use
                     Left, Right, and Overhead Cabin Wiring
    3
                     (Sparks – 1; MIL038335-MIL038337)
    4
           BP        August 2011 H-53E Airframe Bulletin             X
    5
                     (AFB) No. 332 re: Inspection of Landing
    6
                     Gear Wiring (Sparks – 2; MIL038346-
    7
                     MIL038349)
    8
           BQ        Enclosure 40: Steps Taken to                           X
    9
                     Troubleshoot Mishap on Aircraft 69
   10
                     (Wuthrich 3; MIL073203-MIL073204)
   11
           BR        11/1/10 CH-53E, MH-53E Technical                X
   12
                     Manual: Organizational Maintenance
   13
                     Testing and Troubleshooting Procedures
   14
                     for Landing Gear Systems (Wuthrich – 4;
   15
                     MIL053005-MIL053053)
   16
           BS        Enclosure 2: Notes and Observations                    X
   17
                     Made by Investigating Officer, Major Ian
   18
                     Stevens (Wuthrich – 5; MIL073031-
   19
                     MIL073032)
   20
           BT        Exemplar Photo of Clamp and Zipties             X
   21

   22
                     Found in CH-53E Helicopters (Coffin – 3;

   23
                     No Bates Label)

   24
           BU        Enclosure 34: Daily Maintenance Records                X

   25
                     for MODEX 69 (Received on 3/15/11)

   26                (Coffin – 4; MIL073187-MIL073192)

   27

   28                                                56
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           Exh. Exhibit Description                            Expect   Ma        Obj.
    1      No.                                                 to Use    y
    2                                                                   Use
           BV        11/1/11 NAVAIR Technical Manual A1-                 X
    3
                     H53CE-GAI-000 re: Organizational
    4
                     Maintenance Procedures for Models CH-
    5
                     53E and MH-53E (Coffin – 7;
    6
                     MIL058083-MIL058494)
    7
           BW        10/1/13 NAVAIR Technical Manual A1-                 X
    8
                     H53CE-GAI-000 re: Organizational
    9
                     Maintenance Procedures for Models CH-
   10
                     53E and MH-53E (Coffin – 8;
   11
                     MIL057665-MIL058082)
   12
           BX        2/1/10 NAVAIR Technical Manual re:                  X     Inadmissible
   13
                     Daily Inspection and Maintenance                          Conclusions
   14                                                                         under 10 USC
                     Requirement Cards for Models CH-53E
   15                                                                             2254;
                     and MH-53E Aircraft (Coffin – 9;
   16                                                                          Inadmissible
                     MIL059849-MIL059964)                                     Opinion under
   17
                                                                              FRE 701/702
   18
           BY        8/15/10 NAVAIR Technical Manual re:                 X        Lacks
   19
                     Daily Inspection and Maintenance                          Foundation
   20
                     Requirement Cards for Models CH-53E
   21
                     and MH-53E Aircraft (Coffin – 10;
   22
                     MIL059109-MIL059240)
   23
           BZ        11/1/13 NAVAIR Technical Manual re:                 X
   24
                     Daily Inspection and Maintenance
   25
   26
                     Requirement Cards for Models CH-53E

   27

   28                                               57
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           Exh. Exhibit Description                               Expect   Ma      Obj.
    1      No.                                                    to Use    y
    2                                                                      Use
                     and MH-53E Aircraft (Coffin – 11;
    3
                     MIL059241-MIL059360)
    4
           CA        1/1/14 NAVAIR A1-H53CE-MRC-100                        X
    5
                     Turnaround Checklist for Model CH-
    6
                     53E/MH-53E (Coffin – 13; MIL059091-
    7
                     MIL059092)
    8
           CB        7/1/12 Change Notice for NATOPS Pilot’s               X
    9
                     Pocket Checklist for CH-53E Helicopter
   10
                     (Coffin – 14; MIL048572 and
   11
                     MIL048609)
   12
           CC        Enclosure 8: Notes from Interview with 1st     X
   13
                     LT Justin Brown on 3/25/11 (Brown – 3;
   14
                     MIL073047-MIL073049)
   15
           CD        Redacted Serious Incident Report (SIR)         X
   16
                     (Brown – 4; MIL073492-MIL073523)
   17
           CE        Notes Drafted by 1st LT Justin Brown on        X
   18
                     3/17/11 (Brown – 5; MIL073540)
   19

   20
           CF        Enclosure 7: Statement of 1st LT Justin        X

   21
                     Brown to NCIS Special Agent Rebecca

   22
                     Fitzsimmons on 3/24/11 (Brown – 6;

   23
                     MIL073044-MIL073046)

   24      CG        Figure 1-1 (Dimensions Diagram) and                   X

   25                Figure 1-2 (Cockpit Diagram) from

   26                NATOPS Flight Manual A1-H53BE-

   27

   28                                                 58
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           Exh. Exhibit Description                            Expect   Ma     Obj.
    1      No.                                                 to Use    y
    2                                                                   Use
                     NFM-000 (Brown – 7; MIL010427-
    3
                     MIL010428)
    4
           CH        Excerpts from NATOPS Flight Manual          X
    5
                     A1-H53BE-NFM-000 for Navy Model
    6
                     CH-53E Helicopter (Dated 4/1/10) (Brown
    7
                     – 8; MIL010356-MIL010510)
    8
            CI       Excerpts from NATOPS Flight Manual          X
    9
                     A1-H53BE-NFM-000 for Navy Model
   10
                     CH-53E Helicopter (Dated 3/15/06)
   11
                     (Brown – 9; MIL008897-MIL008899;
   12
                     MIL009409-MIL009412; MIL009465-
   13
                     MIL009469)
   14
            CJ       Excerpts from NATOPS Flight Manual          X
   15
                     A1-H53BE-NFM-000 for Navy Model
   16
                     CH-53E Helicopter (Dated 3/15/06)
   17
                     (Brown – 10; MIL008897-MIL008899;
   18
                     MIL009210-MIL009214)
   19
           CK        Enclosure 22: Excerpts from NATOPS                 X
   20
                     Flight Manual A1-H53BE-NFM-000
   21
                     (Brown – 11; MIL073085-MIL073089)
   22

   23
           CL        Excerpts from NATOPS Flight Manual                 X

   24
                     A1-H53BE-NFM-000 for Navy Model

   25
                     CH-53E Helicopter (Dated 3/15/06)

   26
                     (Brown – 12; MIL008897-MIL008899;

   27
                     MIL009047-MIL009051)

   28                                               59
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           Exh. Exhibit Description                             Expect   Ma      Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
           CM        Enclosure 24: Excerpts from NATOPS                   X
    3
                     Flight Manual A1-H53BE-NFM-000
    4
                     (Brown – 13; MIL073091-MIL073094)
    5
           CN        Handwritten Notes Made by NCIS Special       X
    6
                     Agent Rebecca Fitzsimmons (Brown – 14;
    7
                     No Bates Label)
    8
           CO        Excerpts from NATOPS Flight Manual                  X
    9
                     A1-H53BE-NFM-000 for Navy Model
   10
                     CH-53E Helicopter (Dated 7/1/12) (Brown
   11
                     – 15; MIL012064-MIL012066;
   12
                     MIL012382-MIL012385)
   13
           CP        Excerpts from NATOPS Flight Manual                  X
   14
                     A1-H53BE-NFM-000 for Navy Model
   15
                     CH-53E Helicopter (Dated 1/1/15) (Brown
   16
                     – 16; MIL014570-MIL014572;
   17
                     MIL014898-MIL014902)
   18
           CQ        Excerpts from NATOPS Flight Manual                  X
   19
                     A1-H53BE-NFM-000 for Navy Model
   20
                     CH-53E Helicopter (Dated 4/1/10) (Brown
   21
                     – 17; MIL010356-MIL010358;
   22
                     MIL010866-MIL010911)
   23

   24
           CR        7/18/11 USMC Memo re: Command                X

   25
                     Investigation Into the Facts and

   26
                     Circumstances of Subject Incident (Brown

   27
                     – 18; MIL073006-MIL073020)

   28                                                   60
           PRETRIAL ORDER                                    CASE NO. 3:13-CV-00331-GPC-KSC

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           Exh. Exhibit Description                             Expect   Ma        Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
           CS        Enclosure 19: Diagram of Crew Locations      X
    3
                     at Time of Mishap (Danley – 3;
    4
                     MIL073081)
    5
           CT        Enclosure 20: Statement of LCPL              X
    6
                     Christopher Danley (Dated 4/6/11)
    7
                     (Danley – 4; MIL073082)
    8
           CU        Statement of LCPL Christopher Danley         X
    9
                     (Dated 3/17/11) (Danley – 5; MIL073543)
   10
           CV        Handwritten Notes Made by NCIS Special       X             Inadmissible
   11
                     Agent Rebecca Fitzsimmons                                  Conclusions
   12                                                                          under 10 USC
                     (Fitzsimmons – 3; No Bates Label)
   13                                                                           2254; Lacks
   14                                                                           Foundation,

   15                                                                             Hearsay,
                                                                                Inadmissible
   16
                                                                               Opinion under
   17
                                                                               FRE 701/702
   18
           CW        NCIS Law Enforcement Records for             X            Inadmissible
                                                                               Conclusions
   19
                     Decedent Alexis Fontalvo (Dated 9/16/11)                  under 10 USC
                                                                               2254; Lacks
   20
                     (Fitzsimmons – 4; MIL073308-                              Foundation,
                                                                               Hearsay,
   21
                     MIL073478)(except for photographs at                      Inadmissible
                                                                               Opinion under
   22
                     MIL073354-73369; MIL073375;                               FRE 701/702
   23
                     MIL073415-442; and diagram on
   24
                     MIL073377)
   25
           CX        Enclosure 5: Statement Made by CAPT          X
   26
                     Bryan Joseph to Special Agent Rebecca
   27

   28                                                 61
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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
                     Fitzsimmons on 3/18/11 (Fitzsimmons –
    3
                     5; MIL073038-MIL073040)
    4
           CY        Enclosure 7: Statement of 1st LT Justin        X
    5
                     Brown to NCIS Special Agent Rebecca
    6
                     Fitzsimmons on 3/24/11 (Fitzsimmons –
    7
                     6; MIL073044-MIL073046)
    8
           CZ        Enclosure 13: Statement of Tashina             X           Inadmissible
    9                                                                           Conclusions
                     Peshlakai (Dated 4/8/11) (Fitzsimmons –                    under 10 USC
   10                                                                           2254
                     8; MIL073070; MIL073084)
   11
           DA        Video of landing safety pin movement.          X           Lacks
   12                                                                           Foundation,
                                                                                never produced
   13                                                                           pursuant to
                                                                                Rule 26(a)(2)
   14

   15      DB        Video of auxiliary fuel tank safety pin        X           Lacks
                                                                                Foundation,
   16                movement.                                                  never produced
                                                                                pursuant to
   17                                                                           Rule 26(a)(2)

   18
           DC        3/18/11 Chronological Record of                X
   19
                     Decedent Fontalvo’s Training/Assignment
   20
                     Records and Duty Stations (Hamilton – 5;
   21
                     MIL072996-MIL072998)
   22
           DD        Enclosure 26: Decedent Fontalvo’s              X
   23

   24
                     Training Records (Hamilton – 6;

   25
                     MIL073102-MIL073104)

   26
           DE        Decedent Fontalvo’s USMC Fitness               X

   27                Report: Commandant’s Guidance (Dated

   28                                                  62
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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
                     5/7/09) (Hamilton - 7A; MIL072977-
    3
                     MIL072981)
    4
            DF       Decedent Fontalvo’s USMC Fitness               X
    5
                     Report: Commandant’s Guidance (Dated
    6
                     12/31/09) (Hamilton - 7B; MIL072972-
    7
                     MIL072976)
    8
           DG        Decedent Fontalvo’s USMC Fitness               X
    9
                     Report: Commandant’s Guidance (Dated
   10
                     5/5/10) (Hamilton - 7C; MIL072967-
   11
                     MIL072971)
   12
           DH        Decedent Fontalvo’s USMC Fitness               X
   13
                     Report: Commandant’s Guidance (Dated
   14
                     7/28/10) (Hamilton - 7D; MIL072962-
   15
                     MIL072966)
   16
            DI       Decedent Fontalvo’s USMC Fitness               X
   17
                     Report: Commandant’s Guidance (Dated
   18
                     3/15/11) (Hamilton - 7E; MIL072957-
   19
                     MIL072961)
   20
            DJ       Enclosure 21 to the Command                    X
   21

   22
                     Investigation Report (Perkins – 4;

   23
                     MIL073083)

   24
           DK        Perkins Statement to NCIS (Perkins – 5;        X               Lacks

                     MIL073463-MIL073464)                                        Foundation,
   25
                                                                                  Hearsay,
   26
                                                                                 Inadmissible
   27                                                                           Opinion under
   28                                                 63
           PRETRIAL ORDER                                      CASE NO. 3:13-CV-00331-GPC-KSC

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           Exh. Exhibit Description                                Expect   Ma        Obj.
    1      No.                                                     to Use    y
    2                                                                       Use
                                                                                  FRE 701/702,
    3
                                                                                  Will be subject
    4                                                                             to a Motion in
    5                                                                                Limine

    6                                                                              regarding a
                                                                                   speculative
    7
                                                                                   theory of the
    8
                                                                                     defense
    9
           DL        Enclosure 16 to the Command                      X               Lacks
   10                                                                              Foundation,
                     Investigation Report (Perkins – 6;
   11                                                                                Hearsay,
                     MIL073073-MIL073075)
   12                                                                              Inadmissible

   13                                                                             Opinion under
                                                                                  FRE 701/702,
   14
                                                                                  Will be subject
   15
                                                                                  to a Motion in
   16                                                                                Limine
   17                                                                              regarding a
   18                                                                              speculative

   19                                                                              theory of the
                                                                                     defense
   20
           DM        Enclosure 9 and 10 to the Command                X
   21
                     Investigation Report (Perkins – 7;
   22
                     MIL073057; MIL073060-MIL073061)
   23
           DN        Witness approval to testify (Shelton – 2;               X
   24
                     no bates stamp)
   25
   26
           DO        Maintenance Action Form (Shelton – 3;            X

   27
                     MIL073199-A)

   28                                                  64
           PRETRIAL ORDER                                        CASE NO. 3:13-CV-00331-GPC-KSC

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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
            DP       Turnaround Checklist (Shelton – 4;             X
    3
                     MIL059097-MIL059102)
    4
           DQ        Diagram with Enclosure 17 of the               X
    5
                     Command Report (Shelton – 5;
    6
                     MIL073078)
    7
           DR        Command Investigation Witness                  X
    8
                     Statement of Shelton (Shelton – 6;
    9
                     MIL073076-MIL073077)
   10
            DS       NCIS Statement of Shelton (Shelton – 7;        X               Lacks
   11
                     MIL073073-MIL073075)                                        Foundation,
   12                                                                              Hearsay,
   13                                                                            Inadmissible
   14                                                                           Opinion under

   15                                                                           FRE 701/702,
                                                                                Will be subject
   16
                                                                                to a Motion in
   17
                                                                                   Limine
   18
                                                                                 regarding a
   19                                                                            speculative
   20                                                                            theory of the
   21                                                                              defense

   22      DT        AMB Statement of Shelton (Shelton – 8;         X               Lacks

                     MIL073542)                                                  Foundation,
   23
                                                                                   Hearsay,
   24
                                                                                 Inadmissible
   25                                                                           Opinion under
   26                                                                           FRE 701/702,
   27                                                                           Will be subject

   28                                                 65
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           Exh. Exhibit Description                               Expect   Ma        Obj.
    1      No.                                                    to Use    y
    2                                                                      Use
                                                                                 to a Motion in
    3
                                                                                     Limine
    4                                                                              regarding a
    5                                                                              speculative

    6                                                                             theory of the
                                                                                    defense
    7
           DU        Investigating Officer Stevens’ Report with     X            Inadmissible
    8                                                                            Conclusions
                     48 Enclosures (Stevens – 1; MIL073006-                      under 10 USC
    9                                                                            2254; Lacks
                     MIL073307)                                                  Foundation,
   10                                                                            Hearsay,
                                                                                 Inadmissible
   11                                                                            Opinion under
                                                                                 FRE 701/702,
   12                                                                            Will be subject
                                                                                 to a Motion in
   13                                                                            Limine
                                                                                 regarding a
   14                                                                            speculative
                                                                                 theory of the
   15                                                                            defense
   16

   17
           DV        Letter dated 3-15-16 from Department of        X

   18
                     the Navy, J.B. Blazek (Stevens – 3; no

   19
                     bates stamp)

   20      DW        Commandant’s Guidance (Stevens – 4;            X

   21                MIL072972-MIL072976)

   22      DX        Master Brief Sheet (Stevens – 5;                      X

   23                MIL073000)

   24      DY        2 page typewritten statement from Staff        X

   25                Sergeant Wuthrich (Stone – 2; no bates

   26                stamp)

   27

   28                                                   66
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           Exh. Exhibit Description                               Expect   Ma       Obj.
    1      No.                                                    to Use    y
    2                                                                      Use
           DZ        HMH-361 Bare Wire Photos (Stone – 4;            X
    3
                     MIL072889-MIL072894)
    4
           EA        Department of Defense Guidelines for            X
    5
                     Inspection of Aircraft Electrical Wiring
    6
                     Interconnect Systems (Stone – 15; no
    7
                     bates stamp)
    8
            EB       Photograph (Stone – 16; no bates stamp)         X
    9
            EC       Organizational Maintenance and                  X
   10
                     Maintenance Procedures General Aircraft
   11
                     Information Navy Models CH-53E MH-
   12
                     53E (Wilcox – 1; no bates stamp)
   13
           ED        NATOPS Flight Manual Navy Model CH-             X
   14
                     53E (Wilcox – 2; no bates stamp)
   15
            EE       NATOPS Aircrew Pocket Checklist CH-             X
   16
                     53E Helipcopter (Wilcox – 3; no bates
   17
                     stamp)
   18

   19
            EF       Organizational Maintenance Principles of        X

   20
                     Operation Landing Gear Control System

   21
                     (Wilcox – 4; no bates stamp)

   22      EG        Wit Letter dated 3-15-16 from Department        X

   23                of the Navy, J.B. Blazek (Wilcox – 6; no

   24                bates stamp)

   25      EH        NATOPS Aircrew Pocket Checklist CH-             X

   26                53E Helicopter (Wilcox – 7; MIL050590-

   27                MIL050611)

   28                                                   67
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           Exh. Exhibit Description                             Expect   Ma       Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
            EI       Notice of Entry of Judgment (Amador – 2;             X
    3
                     DF000527-DF000547)
    4
            EJ       Tashina Pashlakai statement (Amador – 3;      X
    5
                     DF000130)
    6
           EK        Fax (Amador – 6; DF000473-DF000493)                  X
    7
            EL       Children’s Dependency Determination           X
    8
                     Affidavit (Amador – 7; DF000230)
    9
           EM        Dependency Statement, Child Born Out of       X
   10
                     Wedlock Under Age 21 (Amador – 8;
   11
                     DF000231-DF000234)
   12
           EN        Marine Corps Total Force Leave and            X
   13
                     Earnings Statement (Amador – 10;
   14
                     DF000240)
   15
           EO        2010 Tax Documents (Amador – 11;              X
   16
                     DF000695-DF000717)
   17

   18
            EP       2011 Tax Documents (Amador – 12;              X

   19
                     DF000718-DF000734)

   20      EQ        Claim for Death Benefits (Amador – 18;        X

   21                DF000525-DF000526)

   22       ER       Servicemember Group Life Insurance            X

   23                Election and Certificate (Amador – 19;

   24                DF000241)

   25       ES       USAA Documents (Amador – 20;                  X
   26                DF000413-DF000417)
   27

   28                                                68
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           Exh. Exhibit Description                              Expect   Ma       Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
            ET       Statement of Account (Amador – 23;             X
    3
                     DF000412)
    4
           EU        Statement of Account (Amador – 24;             X
    5
                     DF000408)
    6
           EV        Consumer Loan Bill (Amador – 25;               X
    7
                     DF000409)
    8
           EW        Consumer Loan Bill (Amador – 26;               X
    9
                     DF000411)
   10
           EX        Promissory Note, Security Agreement and        X
   11
                     Disclosure (Amador – 27; DF000403)
   12
           EY        Promissory Note, Security Agreement and        X
   13
                     Disclosure (Amador – 28; DF000401)
   14
            EZ       Children’s Dependency Determination            X
   15
                     Affidavit for Tanika Long and Dominic
   16
                     Fontalvo (N. Fontalvo – 32; DF000230-
   17
                     DF000234)
   18

   19
             FA      HSBC Reward Zone Best Buy card                        X

   20
                     statement for Alexis Fontalvo (N.

   21
                     Fontalvo – 38; not bates stamped)

   22        FB      Pacific Marine Credit Union Visa                      X

   23                Statement for Alexis (N. Fontalvo – 39;

   24                not bates stamped)

   25        FC      Chase Freedom Credit Card Statement for        X

   26                Alexis Fontalvo (N. Fontalvo – 40; not

   27                bates stamped)

   28                                                    69
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           Exh. Exhibit Description                                  Expect   Ma       Obj.
    1      No.                                                       to Use    y
    2                                                                         Use
             FD      Stack of Documents from Navy Federal               X
    3
                     Credit Union re Alexis Fontalvo and the
    4
                     witness’ joint account (N. Fontalvo – 41;
    5
                     not bates stamped)
    6
             FE      Hot Line Report Aircraft Mishap                           X
    7
                     (Preliminary) (Stelzer – 1; SIK011191-
    8
                     SIK011192)
    9
             FF      Materials Engineering Report (Stelzer – 2;         X
   10
                     SIK008344-SIK008352)
   11
             FG      Report: Inadvertent Retraction of Landing          X
   12
                     Gear while on ground, CH-53E (Stelzer –
   13
                     3; SIK008291-SIK008301)
   14
             FH      Wire Degradation’s Role in Helicopter              X
   15
                     Incident (Stelzer – 4; SIK008302-
   16
                     SIK008343)
   17
             FI      Wire from Landing Gear Control Panel               X
   18
                     P123E through bulkhead discolnnect
   19
                     P/J677 pin I to Landing Gear Retract (UP)
   20
                     Valve P494 pin A from CH-53E s/n
   21

   22
                     163077 (Stelzer – 35; SIK011151-

   23
                     SIK011166)

   24
             FJ      Consul Air billing statement to Grassin &          X

   25
                     Wrinkle (Lawrence – 5; no bates stamp)

   26        FK      Retention letter and invoices (Fractor – 3;        X

   27                no bates stamp)

   28                                                  70
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           Exh. Exhibit Description                             Expect   Ma       Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
             FL      Billing Records (Bloomfield – 17; no          X
    3
                     bates stamp)
    4
            FM       HMH-361 Bare Wire Photos (Bloomfield          X
    5
                     – 18; MIL072889-MIL072894)
    6
             FN      Photograph (Bloomfield - 19; no bates         X
    7
                     stamp)
    8
             FO      Photograph (Bloomfield - 20; no bates         X
    9
                     stamp)
   10
             FP      Photograph (Bloomfield - 21; no bates         X
   11
                     stamp)
   12
             FQ      Photograph (Bloomfield - 22; no bates         X
   13
                     stamp)
   14
             FR      Photograph (Bloomfield - 23; no bates         X
   15
                     stamp)
   16

   17
             FS      Photograph (Bloomfield - 24; no bates         X

   18
                     stamp)

   19        FT      Photograph (Bloomfield - 25; no bates         X

   20                stamp)

   21        FU      Blank page (Bloomfield - 26; no bates         X

   22                stamp)

   23        FV      Landing Gear Control Wiring Diagram           X

   24                (Bloomfield - 27; no bates stamp)

   25       FW       Blank page (Bloomfield - 28; no bates         X
   26                stamp)
   27

   28                                                    71
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           Exh. Exhibit Description                             Expect   Ma        Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
             FX      Photograph (Bloomfield - 29; no bates         X
    3
                     stamp)
    4
             FY      Rebuttal Expert Report of James Knox          X            Inadmissible
    5
                     (Bloomfield - 30; no bates stamp)                          Conclusions
    6                                                                          under 10 USC
    7                                                                           2254; Lacks
    8                                                                           Foundation,

    9                                                                             Hearsay,
                                                                                Inadmissible
   10
                                                                               Opinion under
   11
                                                                               FRE 701/702,
   12                                                                          Will be subject
   13                                                                          to a Motion in
   14                                                                             Limine

   15                                                                           regarding a
                                                                                speculative
   16
                                                                                theory of the
   17
                                                                                  defense
   18
             FZ      Landing Gear Diagram (Reynolds - 26; no              X
   19
                     bates stamp)
   20
           GA        A1-H53CE-130-200 Diagram (Reynolds –                 X
   21
                     27; MIL053037)
   22
           GB        HMH-361 Bare Wire Photos (Reynolds –                 X
   23
                     28; MIL072889-MIL072894)
   24
           GC        Photograph (Reynolds - 29; no bates                  X
   25
                     stamp)
   26

   27

   28                                                    72
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           Exh. Exhibit Description                                Expect   Ma        Obj.
    1      No.                                                     to Use    y
    2                                                                       Use
           GD        Photograph (Reynolds - 30; no bates                     X
    3
                     stamp)
    4
           GE        YCH-53E Final Report, May 10, 1972               X
    5
                     (SER-13013)(SIK011778; SIK011791-
    6
                     SIK011792; SIK011966-SIK011968)
    7
           GF        Detail Specification for Model CH-53E            X
    8
                     Production Prototype Helicopter, July 31,
    9
                     1974 (SIK015270-431)
   10
           GG        Landing Gear Design Report, April 16,            X
   11
                     1975 (SER-13183)(SIK025422-
   12
                     SIK025447)
   13
           GH        SD-552-3-2, January 10, 1980                     X
   14
                     (MIL259030-MIL259032)
   15
            GI       CH-53E Reportable Events (MIL073578-             X
   16
                     79; MIL073593-MIL073598; MIL073616-
   17
                     MIL073649)
   18

   19
            GJ       M27500-20MWIS12 Aircraft Wire                    X

   20
                     Shortage, PM90-466, May 22, 1990 (no

   21
                     bates stamp)

   22      GK        Executive Summary, Technical                     X

   23                Concurrence and Risk Acceptance

   24                Signature Sheet, May 20, 2009

   25                (MIL230430-MIL230440)
           GL        Safety Investigation Report (SIR) re Buno        X            Inadmissible
   26
                     163077 (MIL233396-MIL233413)                                  Conclusions
   27

   28                                                 73
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           Exh. Exhibit Description                            Expect   Ma        Obj.
    1      No.                                                 to Use    y
    2                                                                   Use
                                                                              under 10 USC
    3
                                                                               2254; Lacks
    4                                                                          Foundation,
    5                                                                           Hearsay,

    6                                                                          Inadmissible
                                                                              Opinion under
    7
                                                                              FRE 701/702
    8
           GM        Three-year Effort Will Repair All 147        X             Hearsay;
    9
                     Aging CH-53E Helicopters, August 10,                         lacks
   10
                     2016 (no bates stamp)                                     foundation
   11
           GN        Stelzer email string (SIK011138-             X               Lacks
   12
                     SIK011149)                                                Foundation,
   13                                                                           Hearsay,
   14                                                                          Inadmissible
   15                                                                         Opinion under

   16                                                                         FRE 701/702
           GO        Bassignani email string (SIK011202-          X               Lacks
   17
                     SIK011211)                                                Foundation,
   18
                                                                                Hearsay,
   19
                                                                               Inadmissible
   20                                                                         Opinion under
   21                                                                         FRE 701/702
   22      GP        Lowenstein email string (SIK011212-          X               Lacks

   23                SIK011214)                                                Foundation,
                                                                                Hearsay,
   24
                                                                               Inadmissible
   25
                                                                              Opinion under
   26                                                                         FRE 701/702
   27

   28                                                   74
           PRETRIAL ORDER                                    CASE NO. 3:13-CV-00331-GPC-KSC

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           Exh. Exhibit Description                            Expect   Ma        Obj.
    1      No.                                                 to Use    y
    2                                                                   Use
           GQ        Stelzer email string (SIK011218-             X               Lacks
    3
                     SIK011229)                                                Foundation,
    4                                                                           Hearsay,
    5                                                                          Inadmissible

    6                                                                         Opinion under
                                                                              FRE 701/702
    7
           GR        Stelzer email string (SIK011244-             X               Lacks
    8
                     SIK011252)                                                Foundation,
    9
                                                                                Hearsay,
   10                                                                          Inadmissible
   11                                                                         Opinion under
   12                                                                         FRE 701/702

   13      GS        Stelzer email string (SIK011253-             X               Lacks

                     SIK011260)                                                Foundation,
   14
                                                                                Hearsay,
   15
                                                                               Inadmissible
   16                                                                         Opinion under
   17                                                                         FRE 701/702
   18      GT        Stelzer email string (SIK011271)             X               Lacks

   19                                                                          Foundation,
                                                                                Hearsay,
   20
                                                                               Inadmissible
   21
                                                                              Opinion under
   22
                                                                              FRE 701/702
   23                                                                             Lacks
           GU        Stelzer email string (SIK011272-             X
   24                                                                          Foundation,
                     SIK011275)
   25                                                                           Hearsay,

   26                                                                          Inadmissible

   27

   28                                                   75
           PRETRIAL ORDER                                    CASE NO. 3:13-CV-00331-GPC-KSC

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           Exh. Exhibit Description                              Expect   Ma       Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
                                                                                Opinion under
    3
                                                                                FRE 701/702
    4      GV        Stelzer email string (SIK011276)              X               Lacks
    5                                                                            Foundation,
    6                                                                             Hearsay,
                                                                                Inadmissible
    7
                                                                                Opinion under
    8
                                                                                FRE 701/702
    9
           GW        Maintenance Record dated January 17,          X               Lacks
   10                                                                            Foundation,
                     2011 (MIL073170)
   11                                                                             Hearsay,
   12                                                                           Inadmissible

   13                                                                           Opinion under
                                                                                FRE 701/702
   14
           GX        U.S. Naval Criminal Investigative Service     X            Inadmissible
   15
                     (MIL092437-MIL092439)                                      Conclusions
   16
                                                                                under 10 USC
   17                                                                           2254; Lacks
   18                                                                            Foundation,

   19                                                                             Hearsay,
                                                                                Inadmissible
   20
                                                                                Opinion under
   21
                                                                                FRE 701/702
   22
           GY        Internal Revenue Service – Exemptions,        X
   23
                     Standard Deduction, and Filing
   24
                     Information (For use in preparing 2010
   25
                     Returns)
   26

   27

   28                                                   76
           PRETRIAL ORDER                                     CASE NO. 3:13-CV-00331-GPC-KSC

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           Exh. Exhibit Description                          Expect   Ma       Obj.
    1      No.                                               to Use    y
    2                                                                 Use
           GZ        Build File (Box 1) for BuNo 163077                X
    3
                     (SIK000001–SIK002313)
    4
           HA        Build File (Box 2) for BuNo 163077         X
    5
                     (SIK002314–SIK004576)
    6
           HB        Build File (Box 3) for BuNo 163077                X
    7
                     (SIK004577–SIK006844)
    8
           HC        DD250 for BUNO 163077 (dated 30 Sept.      X
    9
                     1990) (SIK006845–SIK006861)
   10
           HD        Instl Dwg No. 65561-01303 AL 001-V                X
   11
                     (SIK007258–SIK007260)
   12
           HE        Instl Dwg No. 65561-01303 EO 16071                X
   13
                     (SIK007261)
   14
            HF       Instl Dwg No. 65561-01303 FS 001 AC               X
   15
                     (SIK007262)
   16

   17
           HG        Instl Dwg No. 65561-01303 FS 002 AC               X

   18
                     (SIK007263)

   19      HH        Instl Dwg No. 65561-01303 FS 003-G                X

   20                (SIK007264)

   21       HI       Instl Dwg No. 65561-01303 FS 004-U                X

   22                (SIK007265)

   23       HJ       Instl Dwg No. 65561-01303 FS 005-H                X

   24                (SIK007266)

   25      HK        Instl Dwg No. 65561-01303 FS 006-U                X
   26                (SIK007267)
   27

   28                                               77
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           Exh. Exhibit Description                          Expect   Ma       Obj.
    1      No.                                               to Use    y
    2                                                                 Use
           HL        Instl Dwg No. 65561-01303 FS 007-R                X
    3
                     (SIK0007268)
    4
           HM        Instl Dwg No. 65561-01303 FS 008-N                X
    5
                     (SIK0007269)
    6
           HN        Instl Dwg No. 65561-01303 PL 001 BE               X
    7
                     (SIK007270–SIK007285)
    8
           HO        Instl Dwg No. 65561-02306 AL 001-N                X
    9
                     (SIK007286–SIK007287)
   10
            HP       Instl Dwg No. 65561-02306 FS 001 AA               X
   11
                     (SIK007288)
   12
           HQ        Instl Dwg No. 65561-02306 FS 002-V                X
   13
                     (SIK007289)
   14
           HR        Instl Dwg No. 65561-02306 FS 003-V                X
   15
                     (SIK007290)
   16

   17
            HS       Instl Dwg No. 65561-02306 FS 004-L                X

   18
                     (SIK007291)

   19      HT        Instl Dwg No. 65561-02306 FS 005-V                X

   20                (SIK007292)

   21      HU        Instl Dwg No. 65561-02306 FS 006-R                X

   22                (SIK007293)

   23      HV        Instl Dwg No. 65561-02306 PL 001 AP               X

   24                (SIK007294–SIK007308)

   25      HW        Instl Dwg No. 65561-02308 AL 001-C                X
   26                (SIK007309)
   27

   28                                             78
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           Exh. Exhibit Description                          Expect   Ma       Obj.
    1      No.                                               to Use    y
    2                                                                 Use
           HX        Instl Dwg No. 65561-02308 FS 001-U                X
    3
                     (SIK007310)
    4
           HY        Instl Dwg No. 65561-02308 PL 001 AD        X
    5
                     (SIK007311–SIK007318)
    6
           HZ        Instl Dwg No. 65561-09301 AL 001-C                X
    7
                     (SIK007319)
    8
            IA       Instl Dwg No. 65561-09301 EO 03557                X
    9
                     (SIK007320)
   10
            IB       Instl Dwg No. 65561-09301 FS 001-P                X
   11
                     (SIK007321)
   12
            IC       Instl Dwg No. 65561-09301 FS 002-P                X
   13
                     (SIK0073222)
   14
            ID       Instl Dwg No. 65561-09301 FS 003-P                X
   15
                     (SIK007323)
   16

   17
            IE       Instl Dwg No. 65561-09301 PL 001-M                X

   18
                     (SIK007324–SIK007327)

   19       IF       65561-03334_AL_001_-G (SIK008353)                 X

   20       IG       65561-03334_PL_001_BC (SIK008354–                 X

   21                SIK008373)

   22       IH       65561-03334_FS_001_AD (SIK008374)                 X

   23        II      65561-03334_FS_002_AD (SIK008375)                 X
   24        IJ      65561-03334_FS_003_AB (SIK008376)                 X
   25       IK       65561-03334_FS_004_AB (SIK008377)                 X
   26       IL       65561-03334_FS_005_AB (SIK008378)                 X
   27       IM       65561-03334_FS_006_AB (SIK008379)                 X
   28                                              79
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           Exh. Exhibit Description                          Expect   Ma        Obj.
    1      No.                                               to Use    y
    2                                                                 Use
            IN       65564-00371_FS_003_-- (Instrument          X
    3
                     Panel Lights) (SIK008380)
    4
            IO       65564-00500_FS_001_-B (Wiring              X
    5
                     Diagram Master Index) (SIK008381)
    6
            IP       65564-00523_FS_001_-A (Caution             X
    7
                     Advisory Panel) (SIK008382)
    8
            IQ       65564-00526_FS_001_-J (Console and         X
    9
                     Panel Lights) (SIK008383)
   10
            IR       65564-00574_FS_001_-F (Landing Gear        X
   11
                     Control) (SIK008384)
   12
            IS       65564-00576_FS_001_-B (Landing Gear        X
   13
                     Warning) (SIK008385)
   14
            IT       65564-00576_FS_001_-B (Landing Gear        X
   15
                     Warning) (SIK008386)
   16

   17
            IU       CH-53A_D LG Control Wiring Diagram -       X

   18
                     65552-00000_FS_035_1_BE

   19
                     (SIK024984)

   20       IV       CH-53A_D LG Control Wiring Diagram -       X

   21                65552-00000_FS_035_2_-H (SIK024985)
            IW       R09446-11-0009 EI Final Report             X           Inadmissible
   22                                                                       Conclusions
                     (MIL006491-MIL006493)                                  under 10 USC
   23                                                                       2254; Lacks
                                                                            Foundation,
   24                                                                       Hearsay,
                                                                            Inadmissible
   25                                                                       Opinion under
                                                                            FRE 701/702
   26

   27

   28                                                 80
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           Exh. Exhibit Description                             Expect   Ma        Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
            IX       R09446-11-0013 EI Final Report                X           Inadmissible
    3                                                                          Conclusions
                     (MIL006494-MIL006496)                                     under 10 USC
    4                                                                          2254; Lacks
                                                                               Foundation,
    5                                                                          Hearsay,
                                                                               Inadmissible
    6                                                                          Opinion under
                                                                               FRE 701/702
    7

    8       IY       AIR-00 Safety Brief (H-53E Kapton             X
    9                Wiring) Apr’03 (MIL006504)
   10       IZ       H-53 SSWG, 20 March 2006, Top Safety          X
   11                Concerns Summary (MIL006505-
   12                MIL006527)
   13       JA       H-53E Kapton Hazard Chart for AIR-00          X
   14                (Apr 03) (PowerPoint file converted to
   15                PDF) (MIL006541-MIL006543)
   16       JB       H-53E Kapton Hazard Chart for AIR-00          X
   17                (Jan 03) (MIL006544-MIL006546)
   18       JC       H-53E Kapton Hazard Chart for AIR-00          X
   19                (Jan 04) (MIL006547-MIL006563)
   20       JD       H-53E Kapton Hazard Chart for AIR-00          X
   21                (Jun 02) (MIL006564-MIL006565)
   22       JE       H-53E Kapton Hazard Chart for AIR-00          X
   23                (Sep 02) (MIL006566-MIL006568)
   24
            JF       H-53E Kapton Hazard Chart for AIR-00          X
   25
                     (Sep 03) (MIL006569-MIL006571)
   26

   27

   28                                                 81
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           Exh. Exhibit Description                            Expect   Ma       Obj.
    1      No.                                                 to Use    y
    2                                                                   Use
            JG       H-53 SSWG 15 Top Safety Concerns (Jul        X
    3
                     2001) (MIL006596-MIL006601)
    4
            JH       H H-53 SSWG 16 Top Safety Concerns           X
    5
                     (Mar 2002) (MIL006602-MIL006605)
    6
            JI       H-53 SSWG 18 Top-10 Safety Concerns          X
    7
                     (Final) (MIL006606-MIL006617)
    8
            JJ       H-53 SSWG 20 Top Safety Concerns             X
    9
                     Summary (MIL006618-MIL006640)
   10
            JK       SSWG 12 SAR Status Summary                   X
   11
                     (MIL006647-MIL006649)
   12
            JL       SSWG 14 Minutes (MIL006650-                  X
   13
                     MIL006653)
   14
           JM        SSWG 14 SAR Presentation (MIL006654-         X
   15
                     MIL006733)
   16

   17
            JN       SSWG 15 Minutes (D711) (MIL006734-           X

   18
                     MIL006738)

   19       JO       SSWG 15 SAR Presentation (MIL006739-         X

   20                MIL006815)

   21       JP       SSWG 16 Minutes (MIL006816-                  X

   22                MIL006819)

   23       JQ       SSWG 16 SAR Presentation (MIL006820-         X

   24                MIL006889)

   25       JR       SSWG 17 Minutes (MIL006890-                  X
   26                MIL006893)
   27

   28                                              82
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           Exh. Exhibit Description                          Expect   Ma       Obj.
    1      No.                                               to Use    y
    2                                                                 Use
            JS       SSWG 17 SAR Presentation (MIL006894-       X
    3
                     MIL006980)
    4
            JT       SSWG 18 SAR Presentation (MIL006981-       X
    5
                     MIL007105)
    6
            JU       SSWG 19 SAR Presentation (Final)           X
    7
                     (MIL007106-MIL007211)
    8
            JV       SSWG 20 SAR Presentation (AFST             X
    9
                     release) Rev1 (MIL007212-MIL007318)
   10
           JW        SSWG 21 Top 10 Safety Concerns (FY07)      X
   11
                     (MIL007407-MIL007413)
   12
            JX       A1-H53BE-NFM-000_REV DTD 4-1-              X
   13
                     2010 (MIL044970-MIL046167)
   14
            JY       A1-H53BE-NFM-000_REV DTD 7-1-              X
   15
                     2012 AND CHG-1 DTD 5-23-2013
   16
                     (MIL046168-MIL047401)
   17

   18
            JZ       A1-H53BE-NFM-500_REV DTD 4-1-              X

   19
                     2010 (MIL049378-MIL049693)

   20      KA        A1-H53BE-NFM-500_REV DTD 7-1-              X

   21                2012 AND CHG-1 DTD 5-23-2013

   22                (MIL049694-MIL050081)

   23      KB        A1-H53BE-NFM-900_REV DTD 4-1-              X

   24                2010 (MIL050590-MIL050805)

   25      KC        A1-H53BE-NFM-900_REV DTD 7-1-              X
   26                2012 (MIL051042-MIL051277)
   27

   28                                              83
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           Exh. Exhibit Description                       Expect   Ma       Obj.
    1      No.                                            to Use    y
    2                                                              Use
           KD        A1-H53CE-130-000_REV DTD 11-1-          X
    3
                     2010 (MIL052034-MIL052259)
    4
           KE        A1-H53CE-130-200_REV DTD 11-1-          X
    5
                     2010 AND CHG-1 DTD 12-1-2011
    6
                     (MIL052845-MIL053004)
    7
           KF        A1-H53CE-130-200_REV DTD 11-1-          X
    8
                     2010 (MIL053005-MIL053160)
    9
           KG        A1-H53CE-450-400_REV DTD 2-1-2009       X
   10
                     (MIL054657-MIL055064)
   11
           KH        A1-H53CE-GAI-000_BASIC DTD 1-31-        X
   12
                     1999 AND CHG-11 DTD 8-1-2010
   13
                     (MIL055797-MIL056182)
   14
            KI       A1-H53CE-MRC-000_REV DTD 1-15-          X
   15
                     2010 (MIL058973-MIL059088)
   16
            KJ       A1-H53CE-MRC-100_REV DTD 2-1-           X
   17
                     2005 (MIL059093-MIL059096)
   18

   19
           KK        A1-H53CE-MRC-100_REV DTD 10-1-          X

   20
                     2009 (MIL059089-MIL059090)

   21      KL        A1-H53CE-MRC-200_BASIC DTD 9-1-         X

   22                2000 AND CHG-3 DTD 2-1-2005

   23                (MIL059361-MIL059482)

   24      KM        A1-H53CE-MRC-200_BASIC DTD 9-1-         X

   25                2000 AND CHG-6 DTD 4-1-2009

   26                (MIL059727-MIL059848)

   27

   28                                             84
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           Exh. Exhibit Description                           Expect   Ma       Obj.
    1      No.                                                to Use    y
    2                                                                  Use
           KN        A1-H53CE-MRC-400_REV DTD 1-15-              X
    3
                     2010 (MIL069535-MIL070054)
    4
           KO        A1-700PA-290-000 IRAC 02                    X
    5
                     (MIL072578-MIL072586)
    6
           KP        A1-H53AD-220-000 IRAC 21                    X
    7
                     (MIL072587-MIL072591)
    8
           KQ        A1-H53CE-460-000 IRAC 1                     X
    9
                     (MIL072592-MIL072594)
   10
           KR        FONTALVO WITH PII-SIR 17 MAR 11             X
   11
                     CH-53E (MIL073479-MIL073563)
   12
           KS        SIR 30 Jun 05 CH-53E BUNO 161394            X
   13
                     (MIL073651-MIL073687)
   14
           KT        (04) CH-53E X165 163077 PMI D Depot                X
   15
                     Loose Gear Docs Metal KX1080M
   16
                     (MIL074802-MIL075355)
   17

   18
           KU        (05) X165 163077 Mech-Elect MAFS                   X

   19
                     (MIL075356-MIL075860)

   20      KV        (12) X165 Induction Phase Ordnance-                X

   21                Induction Preservation CH-53E 163077

   22                PMI D (MIL076086-MIL076158)

   23      KW        RE: Box of Maintenance/Overhaul                    X

   24                Records from FRCSW (no bates stamp)

   25      KX        163077 DATA (Excel) (MIL076248)                    X
   26      KY        201508181112 (MIL076249-MIL076260)                 X
   27

   28                                              85
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           Exh. Exhibit Description                           Expect   Ma     Obj.
    1      No.                                                to Use    y
    2                                                                  Use
           KZ        Aircraft Logbook Volume I (MIL076261-              X
    3
                     MIL076634)
    4
           LA        Aircraft Logbook Volume II (MIL076635-            X
    5
                     MIL077088)
    6
           LB        Aircraft Logbook Volume III                       X
    7
                     (MIL077089-MIL077239)
    8
           LC        Large Binder_201508141537                         X
    9
                     (MIL078237-MIL079199)
   10
           LD        WolfPack HMH-466 (MIL079200-                      X
   11
                     MIL079413)
   12
           LE        AFC-AFB (MIL079414-MIL079666)                     X
   13
           LF        DCC-DCB (MIL079667-MIL079769)                     X
   14
           LG        Misc K (MIL079770-MIL079791)                      X
   15

   16
           LH        Misc L (MIL079792-MIL080093)                      X

   17       LI       Misc M (MIL080094-MIL080359)                      X

   18       LJ       Misc MAFS (MIL080360-MIL080526)                   X

   19      LK        Misc N (MIL080527-MIL080809)                      X

   20      LL        Misc O (MIL080810-MIL080956)                      X
   21      LM        Misc PQ (MIL080957-MIL081018)                     X
   22      LN        Misc R (MIL081019-MIL081177)                      X
   23      LO        Misc S (MIL081178-MIL081341)                      X
   24      LP        Misc UV (MIL081342-MIL081415)                     X
   25      LQ        Misc W (MIL081416-MIL081468)                      X
   26      LR        Phase B (MIL081469-MIL081557)                     X
   27      LS        Phase D (MIL081558-MIL081574)                     X
   28                                              86
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           Exh. Exhibit Description                         Expect   Ma       Obj.
    1      No.                                              to Use    y
    2                                                                Use
           LT        Repair & Rework (MIL081575-                      X
    3
                     MIL081645)
    4
           LU        Transfer & Acceptance (MIL081646-                X
    5
                     MIL081793)
    6
           LV        NALCOMIS OMA Misc History Tab                    X
    7
                     (MIL081794-MIL081817)
    8
           LW        NALCOMIS OMA Repair-Rework Tab                   X
    9
                     (MIL081818-MIL081822)
   10
           LX        AVC-4780-A1 (MIL083401)                          X
   11
           LY        A1-H53CE-130-100 (MIL081823-                     X
   12
                     MIL081917)
   13
           LZ        Copy of H53_FST_163077 (MIL092262)               X
   14
           MA        A1-H53CE-450-000 (1 November 2010)        X
   15

   16
                     (MIL093886-MIL094583)

   17
           MB        A1-H53CE-450-000 (Change 1                X

   18
                     September 2011) (MIL094584-

   19                MIL095283)

   20      MC        A1-H53CE-450-000 (Change 3 - 1            X

   21                December 2013) (MIL095284-

   22                MIL095973)

   23      MD        A1-H53CE-450-200 (1 November 2010)        X

   24                (MIL099379-MIL099599)

   25      ME        A1-H53CE-450-000 (MIL100034-              X
   26                MIL100727)
   27

   28                                              87
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           Exh. Exhibit Description                      Expect   Ma       Obj.
    1      No.                                           to Use    y
    2                                                             Use
           MF        A1-H53CE-450-200 (MIL100728-           X
    3
                     MIL100960)
    4
           MG        A1-H53CE-130-100_REV_1NOV10            X
    5
                     (MIL101147-MIL101238)
    6
           MH        ELE_0084.JPG (MIL101247)                      X
    7
           MI        ELE_0085.JPG (MIL101248)                      X
    8
           MJ        ELE_0086.JPG (MIL101249)                      X
    9
           MK        ELE_0087.JPG (MIL101250)                      X
   10
           ML        ELE_0088.JPG (MIL101251)                      X
   11
          MM         ELE_0089.JPG (MIL101252)                      X
   12

   13
           MN        ELE_0090.JPG (MIL101253)                      X

   14
           MO        ELE_0091.JPG (MIL101254)                      X

   15      MP        ELE_0092.JPG (MIL101255)                      X

   16      MQ        ELE_0093.JPG (MIL101256)                      X

   17      MR        ELE_0095.JPG (MIL101258)                      X

   18      MS        ELE_0096.JPG (MIL101259)                      X
   19      MT        ELE_0097.JPG (MIL101260)                      X
   20      MU        ELE_0098.JPG (MIL101261)                      X
   21      MV        ELE_0099.JPG (MIL101262)                      X
   22     MW         ELE_0100.JPG (MIL101263)                      X
   23      MX        ELE_0101.JPG (MIL101264)                      X
   24      MY        ELE_0102.JPG (MIL101265)                      X
   25      MZ        ELE_0107.JPG (MIL101270)                      X
   26       NA       ELE_0108.JPG (MIL101271)                      X
   27       NB       ELE_0110.JPG (MIL101273)                      X
   28                                           88
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           Exh. Exhibit Description                             Expect   Ma      Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
            NC       ELE_0111.JPG (MIL101274)                             X
    3
            ND       ELE_0112.JPG (MIL101275)                            X
    4
            NE       ELE_0113.JPG (MIL101276)                            X
    5
            NF       ELE_0114.JPG (MIL101277)                            X
    6
            NG       ELE_0115.JPG (MIL1012780                            X
    7
            NH       ELE_0116.JPG (MIL101279)                            X
    8
             NI      ELE_0117.JPG (MIL101280)                            X
    9
             NJ      ELE_0118.JPG (MIL101281)                            X
   10
            NK       ELE_0119.JPG (MIL101282)                            X
   11

   12
            NL       ELE_0120.JPG (MIL101283)                            X

   13       NM       ELE_0121.JPG (MIL101284)                            X

   14       NN       ELE_0122.JPG (MIL101285)                            X

   15       NO       A1-H53CE-GAI-000 (MIL101290-                 X

   16                MIL101714)

   17       NP       A1-H53CE-MRC-300 (MIL101715-                 X
   18                MIL102290)
   19       NQ       Aircraft Wash (MIL102291-MIL102306)                 X
   20       NR       Curriculum Vitae for Robert Ostrowski        X
   21                (Ostrowski – 1; no bates stamp)
   22       NS       Report of Robert B. Ostrowski, March 30,     X
   23                2017 (Ostrowski – 2; no bates stamp)
   24       NT       ITSS (MATMEP) 400 Division                   X
   25                (Ostrowski – 8; no bates stamp)
   26       NU       MATMEP records (Ostrowski – 9; no            X
   27                bates stamp)
   28                                                  89
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           Exh. Exhibit Description                               Expect   Ma        Obj.
    1      No.                                                    to Use    y
    2                                                                      Use
            NV       Printout of digital training jacket             X
    3
                     (Ostrowski – 10; no bates stamp)
    4
            NW       Section III, Certification/Qualification        X
    5
                     (Ostrowski – 11; no bates stamp)
    6
            NX       Section II, Mission Oriented Training           X
    7
                     (Ostrowski – 12; no bates stamp)
    8
            NY       Certificates of Completion (Ostrowski –         X
    9
                     13; no bates stamp)
   10
            NZ       Certificates of Completion (Ostrowski –         X
   11
                     14; no bates stamp)
   12
            OA       Airframe Bulletin (Ostrowski – 19;              X
   13
                     MIL037887-MIL037888)
   14
            OB       Rebuttal Report of Robert Ostrowski,            X
   15
                     April 14, 2017 (Ostrowski – 22; no bates
   16
                     stamp)
   17

   18
            OC       Letter of recommendation for Staff              X

   19
                     Sergeant Robert Ostrowski (Ostrowski –

   20
                     23; no bates stamp)

   21       OD       Dr. Jerald Udinsky March 30, 2017               X           Hearsay

   22                Analysis of Alex Fontalvo’s financial

   23                support of Tanika Long and

   24                accompanying exhibits to report and

   25                curriculum vitae of Dr. Udinsky (58

   26                pages)

   27

   28                                                      90
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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
            OE       Dr. Jerald Udinsky March 30, 2017              X           Hearsay
    3
                     Economic Loss Report for Dominic
    4
                     Fontalvo and Tanika Long and
    5
                     accompanying exhibits to report (34
    6
                     pages)
    7
            OF       Dr. Jerald Udinsky March 30, 2017              X           Hearsay
    8
                     Economic Loss Report for Dominic
    9
                     Fontalvo and accompanying exhibits to
   10
                     report (32 pages)
   11
            OG       Lino, M., Kuczynski, K., Rodriguez, N.,        X           Lacks
   12
                     and Schap, T. (2017). Expenditures on                      foundation,
   13                                                                           hearsay,
                     Children by Families, 2015. Miscellaneous
   14                                                                           Learned
                     Publication No. 1528-2015. U.S.
   15                                                                           Treatise may
                     Department of Agriculture, Center for                      not be received
   16
                     Nutrition Policy and Promotion.                            by Jury (FRE
   17
                                                                                803(18))
   18
            OH       Table 1A Average Published Charges             X           Lacks
   19
                     (Enrollment-Weighted) for Full-Time                        foundation,
   20                                                                           hearsay,
                     Undergraduates by Sector, 2016-17,
   21                                                                           Learned
                     Trends in College Pricing 2016, College
   22                                                                           Treatise may
                     Board.                                                     not be received
   23
                                                                                by Jury (FRE
   24
                                                                                803(18))
   25
             OI      SER-13013, May 10, 1972 (SIK011778-            X
   26
                     SIK012006)
   27

   28                                                  91
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           Exh. Exhibit Description                               Expect   Ma     Obj.
    1      No.                                                    to Use    y
    2                                                                      Use
             OJ      SER-13197, September 9, 1974                   X
    3
                     (SIK012484-SIK012670)
    4
            OK       SER-13066, “Electrical/ Electrical System      X
    5
                     Phase 1 Test Report”, October 30, 1974
    6
                     (SIK012224-SIK012261)
    7
            OL       SER-13065, February 1975 (SIK012074-           X
    8
                     SIK012223)
    9
            OM       SER-13451, November 10, 1980                   X
   10
                     (SIK014085-SIK014096)
   11
            ON       Contract N00019-73-C-0228 (SIK015432-          X
   12
                     SIK022549)
   13
            OO       SER-13300, September 9, 1977                   X
   14
                     (SIK013500-SIK013744)
   15
            OP       Sikorsky letter to the Navy, December 15,      X
   16
                     1981 (MIL259030-MIL259032)
   17

   18
            OQ       Revised Specification (SIK018366-              X

   19
                     SIK18608)

   20       OR       Specific Change Order of the Build             X

   21                Record file (SIK003880-SIK003882)

   22       OS       Control drawing of the landing gear wiring     X

   23                for the CH-53D drawing #65552-00000

   24                (SIK024984)

   25       OT       Landing Gear Cabling, P340, P341 and           X
   26                P30 (SIK024985)
   27

   28                                                 92
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           Exh. Exhibit Description                          Expect   Ma       Obj.
    1      No.                                               to Use    y
    2                                                                 Use
            OU       CH-53E Manual, A1-H53CE-130-100            X
    3
                     (MIL081842-MIL081843)
    4
            OV       A1-H53CE-GAI-000 (MIL055065-               X
    5
                     MIL058494; MIL101290-MIL101714)
    6
            OW       CH-53 T&R Manual (no bates number)         X
    7
            OX       A1-H53BE-NFM-000 (MIL007711-               X
    8
                     MIL015527)
    9
            OY       A1-H53BE-NFM-900 (MIL010236-               X
   10
                     MIL016369; MIL050464- MIL051277)
   11
            OZ       IAFC 076 (MIL021603-MIL021604)             X
   12
            PA       AFC 445 (MIL023322-MIL023343)              X
   13
            PB       AFC 476 (MIL025751-MIL025756)              X
   14

   15
            PC       AFC 519 (MIL028762-MIL028835)              X

   16       PD       AFC 524 (MIL028974-MIL029023)              X

   17       PE       NAVAIR 01-1A-505-1 (no bates number)       X

   18        PF      U.S. Navy Aeromedical Reference and        X

   19                Waiver Guide (no bates number)

   20       PG       NAVMC 3500.47A CH-53 T&R (no bates         X
   21                number)
   22       PH       MCO P4790.20 (no bates number)             X
   23        PI      AFB 224 (MIL037887-MIL037888)              X
   24        PJ      AFB 276 (MIL038126-MIL038127)              X
   25       PK       AFB 305 (MIL038236-MIL038239)              X
   26       PL       AFB 316 (MIL038276-MIL038277)              X
   27       PM       AFB 328 (MIL038335-MIL038337)              X
   28                                                 93
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           Exh. Exhibit Description                              Expect   Ma        Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
            PN       AFB 332 (MIL038346-MIL038349)                 X
    3
            PO       AFB 333 (MIL038350-MIL038357)                 X
    4
             PP      AFB 342 (MIL038434-MIL038437)                 X
    5
            PQ       AFB 346 (no bates stamp)                      X
    6
            PR       Fontalvo medical records (MIL201106-          X
    7
                     201325)
    8
             PS      Fontalvo performance reports                  X
    9
                     (MIL201386-201410)
   10
            PT       Military custodian of records                 X
   11
                     (MIL200866-871)
   12
            PU       Fontalvo service records (MIL072982-          X
   13
                     072998)
   14
            PV       Wakefield Report dated March 30, 2017         X            Hearsay
   15

   16
                     and Curriculum Vitae (Wakefield -6)

   17       PW       SER13451 (Wakefield – 3; SIK014085-           X

   18                96)

   19       PX       Historical documents (Wakefield depo          X

   20                exhibit -4)
            PY       Opinions (Wakefield -7)                       X            Hearsay
   21

   22       PZ       Declaration of Ken Kelly (Wakefield – 11)     X            Hearsay

   23       QA       U.S. General Accounting Office Staff          X
   24                Study 1973 (Wakefield – 13)
   25       QB       U.S. General Accounting Office Staff          X
   26                Study 1974 (Wakefield – 14)
   27

   28                                                94
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           Exh. Exhibit Description                              Expect   Ma          Obj.
    1      No.                                                   to Use    y
    2                                                                     Use
            QC       Historical documents (Wakefield depo           X
    3
                     exhibit -15)
    4
            QD       Historical documents (Wakefield depo           X
    5
                     exhibit -16)
    6
            QE       Historical documents (Wakefield depo           X
    7
                     exhibit -17)
    8
            QF       Knox report dated March 30, 2017               X           Hearsay
    9
            QG       Rebuttal report of Knox dated April 14,        X           Hearsay
   10
                     2017
   11
            QH       Curriculum Vitae of James Knox                 X
   12
             QI      Knox depo exhibit 11:                          X           Cumulative;
   13
                     A1-H53CE-GAI-000_BASIC DTD 1-31-                           hearsay;
   14
                                                                                Plaintiff
                     1999 AND CHG-11 DTD 8-1-2010
   15                                                                           further objects
                     (MIL055797-MIL056182)
   16                                                                           to submitting
   17                                                                           any
                     A1-H53CE-420-000 (SIK022692-                               undifferentiate
   18
                     SIK023097)                                                 d database into
   19
                     A1-H53CE-420-100 (SIK023098-                               evidence; it is
   20
                                                                                unduly
   21
                     SIK023296)
                                                                                burdensome to
   22
                     A1-H53CE-420-200 (SIK023297-
                                                                                evaluate all
   23
                     SIK023793)                                                 issues of

   24
                     A1-H53CE-420-400 (SIK023794-                               admissibility;
                     SIK023983)                                                 undifferentiate
   25
                                                                                d database
   26

   27

   28                                                 95
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           Exh. Exhibit Description                             Expect   Ma        Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
                     A1-440PA-450-000 (MIL201435-
    3
                     MIL201684)
    4
             QJ      Photograph of wiring in CH-53E cockpit        X           Lacks
    5
                                                                               Foundation,
    6                                                                          Not Disclosed
    7                                                                          pursuant to
    8                                                                          Rule 26(a)(2)

    9       QK       Photograph of wiring in CH-53E                X           Lacks

                     electronics bay                                           Foundation,
   10
                                                                               Not Disclosed
   11
                                                                               pursuant to
   12                                                                          Rule 26(a)(2)
   13       QL       Photograph of wiring in CH-53E                X           Lacks
   14                electronics bay                                           Foundation,

   15                                                                          Not Disclosed
                                                                               pursuant to
   16
                                                                               Rule 26(a)(2)
   17
            QM       Photographs of wiring in CH-53E fuselage      X               Lacks
   18
                                                                                Foundation,
   19                                                                          Not Disclosed
   20                                                                            pursuant to
   21                                                                          Rule 26(a)(2)

   22       QN       Photographs of wiring in CH-53E fuselage      X           Lacks
                                                                               Foundation,
   23
                                                                               Not Disclosed
   24
                                                                               pursuant to
   25                                                                          Rule 26(a)(2)
   26       QO       Photographs of wiring in CH-53E near          X           Lacks
   27                utility hydraulic module                                  Foundation,

   28                                                 96
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           Exh. Exhibit Description                             Expect   Ma        Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
                                                                               Not Disclosed
    3
                                                                               pursuant to
    4                                                                          Rule 26(a)(2)
    5       QP       Photograph of CH-53E utility hydraulic        X           Lacks
    6                module                                                    Foundation,
                                                                               Not Disclosed
    7
                                                                               pursuant to
    8
                                                                               Rule 26(a)(2)
    9
            QQ       Photograph of CH-53E utility hydraulic        X           Lacks
   10                                                                          Foundation,
                     module
   11                                                                          Not Disclosed
   12                                                                          pursuant to

   13                                                                          Rule 26(a)(2)

   14       QR       Photograph of CH-53E utility hydraulic        X           Lacks

                     module                                                    Foundation,
   15
                                                                               Not Disclosed
   16
                                                                               pursuant to
   17                                                                          Rule 26(a)(2)
   18       QS       Photograph of CH-53E utility hydraulic        X           Lacks
   19                module                                                    Foundation,
                                                                               Not Disclosed
   20
                                                                               pursuant to
   21
                                                                               Rule 26(a)(2)
   22
            QT       Photograph of CH-53E utility hydraulic        X           Lacks
   23                                                                          Foundation,
                     module
   24                                                                          Not Disclosed
   25                                                                          pursuant to

   26                                                                          Rule 26(a)(2)

   27

   28                                                97
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           Exh. Exhibit Description                             Expect   Ma        Obj.
    1      No.                                                  to Use    y
    2                                                                    Use
            QU       Photograph of CH-53E utility hydraulic        X           Lacks
    3
                     module                                                    Foundation,
    4                                                                          Not Disclosed
    5                                                                          pursuant to

    6                                                                          Rule 26(a)(2)

    7       QV       Photographs of CH-53A                         X           Lacks
                                                                               Foundation,
    8
                                                                               Not Disclosed
    9
                                                                               pursuant to
   10                                                                          Rule 26(a)(2)
   11       QW       Photographs of CH-53D                         X           Lacks
   12                                                                          Foundation,

   13                                                                          Not Disclosed
                                                                               pursuant to
   14
                                                                               Rule 26(a)(2)
   15
            QX       Photographs of CH-53E                         X           Lacks
   16
                                                                               Foundation,
   17                                                                          Not Disclosed
   18                                                                          pursuant to

   19                                                                          Rule 26(a)(2)

   20       QY       Diagram of CH-53E Hydraulic Gear              X           Lacks

                     System                                                    Foundation,
   21
                                                                               Not Disclosed
   22
                                                                               pursuant to
   23                                                                          Rule 26(a)(2)
   24       QZ       Drawing of Utility Hydraulic Module           X           Lacks
   25                                                                          Foundation,

   26                                                                          Not Disclosed

   27

   28                                                98
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           Exh. Exhibit Description                               Expect   Ma        Obj.
    1      No.                                                    to Use    y
    2                                                                      Use
                                                                                 pursuant to
    3
                                                                                 Rule 26(a)(2)
    4       RA       Diagram of Utility Module Gear Solenoid         X           Lacks
    5                Control                                                     Foundation,
    6                                                                            Not Disclosed
                                                                                 pursuant to
    7
                                                                                 Rule 26(a)(2)
    8
            RB       Photograph of CH53E Tail Skid                   X           Lacks
    9
                                                                                 Foundation,
   10                                                                            Not Disclosed
   11                                                                            pursuant to
   12                                                                            Rule 26(a)(2)

   13       RC       Diagram of Landing Gear Control System          X           Lacks
                                                                                 Foundation,
   14
                                                                                 Not Disclosed
   15
                                                                                 pursuant to
   16
                                                                                 Rule 26(a)(2)
   17       RD       Diagram of CB and Cam Lock up-limit             X           Lacks
   18                switches                                                    Foundation,
   19                                                                            Not Disclosed
                                                                                 pursuant to
   20
                                                                                 Rule 26(a)(2)
   21
            RE       Drawing of CH-53E main landing gear             X           Lacks
   22
                     indicating location of cam lock up-limit                    Foundation,
   23                                                                            Not Disclosed
                     switch, down-limit switch and scissor
   24                                                                            pursuant to
                     switch.
   25                                                                            Rule 26(a)(2)

   26       RF       Diagram of Gear Position Switches and           X           Lacks

                     Lights                                                      Foundation,
   27

   28                                                  99
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          Exh. Exhibit Description                              Expect   Ma        Obj.
   1      No.                                                   to Use    y
   2                                                                     Use
                                                                               Not Disclosed
   3
                                                                               pursuant to
   4                                                                           Rule 26(a)(2)
   5       RG       Drawing of Landing Gear position lights        X           Lacks
   6                                                                           Foundation,
                                                                               Not Disclosed
   7
                                                                               pursuant to
   8
                                                                               Rule 26(a)(2)
   9
           RH       Diagram of down-lock release solenoid          X           Lacks
  10                                                                           Foundation,
  11                                                                           Not Disclosed
  12                                                                           pursuant to

  13                                                                           Rule 26(a)(2)
            RI      Drawing of Landing gear handle assembly        X           Lacks
  14
                                                                               Foundation,
  15
                                                                               Not Disclosed
  16
                                                                               pursuant to
  17                                                                           Rule 26(a)(2)
  18        RJ      Photograph of landing gear handle              X           Lacks
  19                assembly                                                   Foundation,
                                                                               Not Disclosed
  20
                                                                               pursuant to
  21
                                                                               Rule 26(a)(2)
  22
           RK       Photograph of landing gear safety pin          X           Lacks
  23                                                                           Foundation,
                    inserted in landing gear
  24                                                                           Not Disclosed
  25                                                                           pursuant to

  26                                                                           Rule 26(a)(2)

  27

  28                                                100
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          Exh. Exhibit Description                               Expect   Ma        Obj.
   1      No.                                                    to Use    y
   2                                                                      Use
           RL       Photograph of landing gear safety pin           X           Lacks
   3
                                                                                Foundation,
   4                                                                            Not Disclosed
   5                                                                            pursuant to

   6                                                                            Rule 26(a)(2)
           RM       Photograph of auxiliary fuel tank safety        X           Lacks
   7
                    pin                                                         Foundation,
   8
                                                                                Not Disclosed
   9
                                                                                pursuant to
  10                                                                            Rule 26(a)(2)
  11       RN       Diagram of CH-53E landing gear wiring           X           Lacks
  12                diagram                                                     Foundation,

  13                                                                            Not Disclosed
                                                                                pursuant to
  14
                                                                                Rule 26(a)(2)
  15
           RO       Photographs of Bundled wiring along             X           Lacks
  16
                    helicopter wall                                             Foundation,
  17                                                                            Not Disclosed
  18                                                                            pursuant to

  19                                                                            Rule 26(a)(2)
           RP       Photographs of interior wiring run              X           Lacks
  20
                                                                                Foundation,
  21
                                                                                Not Disclosed
  22
                                                                                pursuant to
  23                                                                            Rule 26(a)(2)
  24       RQ       Photographs of wiring bundled with zip          X           Lacks
  25                ties                                                        Foundation,

  26                                                                            Not Disclosed

  27

  28                                                101
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          Exh. Exhibit Description                           Expect   Ma        Obj.
   1      No.                                                to Use    y
   2                                                                  Use
                                                                            pursuant to
   3
                                                                            Rule 26(a)(2)
   4       RR       Photograph of Kapton wiring in BUNO         X           Lacks
   5                163077                                                  Foundation,
   6                                                                        Not Disclosed
                                                                            pursuant to
   7
                                                                            Rule 26(a)(2)
   8
           RS       Photograph of Kapton wiring in BUNO         X           Lacks
   9
                    163077                                                  Foundation,
  10                                                                        Not Disclosed
  11                                                                        pursuant to
  12                                                                        Rule 26(a)(2)

  13       RT       Photographs of Kapton wiring in BUNO        X           Lacks

                    163077                                                  Foundation,
  14
                                                                            Not Disclosed
  15
                                                                            pursuant to
  16
                                                                            Rule 26(a)(2)
  17       RU       Photographs of Kapton wiring in BUNO        X           Lacks
  18                163077                                                  Foundation,
  19                                                                        Not Disclosed
                                                                            pursuant to
  20
                                                                            Rule 26(a)(2)
  21
           RV       Photographs of Kapton degradation in        X           Lacks
  22
                    bundles in BUNO 163077.                                 Foundation,
  23                                                                        Not Disclosed
  24                                                                        pursuant to
  25                                                                        Rule 26(a)(2)

  26       RW       Photograph of Spec-55 wiring in BUNO        X           Lacks

                    163077 with nicks and burns.                            Foundation,
  27

  28                                               102
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          Exh. Exhibit Description                                Expect   Ma        Obj.
   1      No.                                                     to Use    y
   2                                                                       Use
                                                                                 Not Disclosed
   3
                                                                                 pursuant to
   4                                                                             Rule 26(a)(2)
   5       RX       The landing gear control wire from the           X           Lacks
   6                subject aircraft BUNO 163077.                                Foundation,
                                                                                 Not Disclosed
   7
                                                                                 pursuant to
   8
                                                                                 Rule 26(a)(2)
   9
           RY       Photograph of the landing gear control           X           Lacks
  10                                                                             Foundation,
                    wire P494-A up-link
  11                                                                             Not Disclosed
  12                                                                             pursuant to

  13                                                                             Rule 26(a)(2)
           RZ       Photograph of the landing gear control           X           Lacks
  14
                    wire P677-I to landing gear control panel                    Foundation,
  15
                                                                                 Not Disclosed
  16
                                                                                 pursuant to
  17                                                                             Rule 26(a)(2)
  18       SA       Photograph of delaminated Kapton tape            X           Lacks
  19                from BUNO 163077                                             Foundation,
                                                                                 Not Disclosed
  20
                                                                                 pursuant to
  21
                                                                                 Rule 26(a)(2)
  22
           SB       Photograph of damaged Kapton tape from           X           Lacks
  23                                                                             Foundation,
                    BUNO 163077
  24                                                                             Not Disclosed
  25                                                                             pursuant to

  26                                                                             Rule 26(a)(2)

  27

  28                                                103
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          Exh. Exhibit Description                                  Expect   Ma        Obj.
   1      No.                                                       to Use    y
   2                                                                         Use
           SC       Photograph of circumferential insulation           X           Lacks
   3
                    damage to Kapton wire from BUNO                                Foundation,
   4                                                                               Not Disclosed
                    163077
   5                                                                               pursuant to

   6                                                                               Rule 26(a)(2)

   7       SD       SEM image of Spec-55 from BUNO                     X

   8                163077

   9       SE       Edax of Spec-55 wire from BUNO 163077              X
  10        SF      SEM of damaged Kapton insulation from              X
  11                BUNO 163077
  12       SG       Edax of same damaged Kapton insulation             X
  13                from BUNO 163077
  14       SH       Schematic of utility module hydraulics.            X
  15        SI      Diagram of current in CH-53E Landin                X
  16                gear control
  17        SJ      Diagram of additional interlock relay –            X
  18                CH-53E
  19       SK       DEMO – Powerpoint and animation                    X               Lacks

  20                presentation of landing gear operation,                         Foundation,
                                                                                   Not Disclosed
  21                interlocks, wire path, hydraulics path and
                                                                                     pursuant to
  22                the interaction of the strut, UM, and
                                                                                   Rule 26(a)(2)
  23                electricity as the strut begins to retract.
  24       SL       DEMO utility hydraulics module                     X           Lacks
  25                                                                               Foundation,
                                                                                   Not Disclosed
  26

  27

  28                                                    104
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          Exh. Exhibit Description                           Expect   Ma        Obj.
   1      No.                                                to Use    y
   2                                                                  Use
                                                                            pursuant to
   3
                                                                            Rule 26(a)(2)
   4       SM       DEMO Kapton wire bundle                     X           Lacks
   5                                                                        Foundation,
   6                                                                        Not Disclosed
                                                                            pursuant to
   7
                                                                            Rule 26(a)(2)
   8
           SN       DEMO Spec-55 wire near utility              X           Lacks
   9
                    hydraulics module                                       Foundation,
  10                                                                        Not Disclosed
  11                                                                        pursuant to
  12                                                                        Rule 26(a)(2)

  13       SO       DEMO Powerpoint regarding Navair and        X           Lacks

                    USMC organization                                       Foundation,
  14
                                                                            Not Disclosed
  15
                                                                            pursuant to
  16
                                                                            Rule 26(a)(2)
  17        SP      DEMO Powerpoint regarding USMC and          X           Lacks
  18                NADEP maintenance for CH-53E                            Foundation,
  19                                                                        Not Disclosed
                                                                            pursuant to
  20
                                                                            Rule 26(a)(2)
  21
           SQ       FAA Kapton Arc Tracking ct88-4 (no                 X    Lacks
  22                                                                        Foundation,
                    bates stamp)                                            Not Disclosed
  23                                                                        pursuant to
                                                                            Rule 26(a)(2);
  24                                                                        Learned
                                                                            Treatise may
  25                                                                        not be received
                                                                            by jury
  26                                                                        [FRE803(18)]

  27

  28                                             105
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          Exh. Exhibit Description                                 Expect   Ma        Obj.
   1      No.                                                      to Use    y
   2                                                                        Use
           SR       MIL-STD-2223. Wet Arc Detectionpdf (1)                   X
   3
                    (no bates stamp)
   4
            SS      MIL-STD-2223. Wet Arc Detectionpdf (1)                   X
   5
                    (no bates stamp)
   6
           ST       MIL-STD-2223. Wet Arc Detectionpdf                       X
   7
                    (no bates stamp)
   8
           SU       NAVAIR AFCB Story-941 (no bates                          X
   9
                    stamp)
  10
           SV       RTO BF on Aging Wiring final PA                          X
  11
                    approved (no bates stamp)
  12
           SW       Sensata arcfault-requirements-aircraft (no               X
  13
                    bates stamp)
  14
           SX       AFB 343A1.BATES (MIL038447-                       X
  15
                    MIL038448)
  16
           SY       IMG_0400.mov (landing gear video)                 X           Lacks
  17                                                                              Foundation,
                                                                                  never produced
  18                                                                              pursuant to
                                                                                  Rule 26(a)(2)
  19

  20       SZ       Tech manual (Part 1 of 2) (MIL007711-                    X
  21                MIL008128)
  22
           TA       Tech manual MIL007711 (Part 2 of 2)                      X
  23
                    (MIL008129-MIL008546)
  24
           TB       Tech manual MIL014033 (MIL014033-                        X
  25
                    MIL014400)
  26

  27

  28                                                106
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          Exh. Exhibit Description                           Expect   Ma        Obj.
   1      No.                                                to Use    y
   2                                                                  Use
           TC       Tech manual MIL201435 (MIL201435-                  X
   3
                    MIL201684)
   4
           TD       Tech manual MIL233710 (MIL233710-                  X
   5
                    MIL233814)
   6
           TE       Tech manual MIL234231 (MIL234231-                  X
   7
                    MIL234294)
   8
           TF       Tech manual MIL234477 (MIL234477-                  X
   9
                    MIL234507)
  10
           TG       R09446-11-0009 EI Final Report.BATES        X           Inadmissible
  11                                                                        Conclusions
                    (MIL006491-MIL006493)                                   under 10 USC
  12                                                                        2254; Lacks
                                                                            Foundation,
  13                                                                        Hearsay,
                                                                            Inadmissible
  14                                                                        Opinion under
                                                                            FRE 701/702
  15

  16       TH       R09446-11-0013 EI Final Report.BATES        X           Inadmissible
                                                                            Conclusions
  17                (MIL006494-MIL006496)                                   under 10 USC
                                                                            2254; Lacks
  18                                                                        Foundation,
                                                                            Hearsay,
  19                                                                        Inadmissible
                                                                            Opinion under
  20                                                                        FRE 701/702
  21
            TI      Stelzer Report (SIK008344-SIK008352)        X
  22
            TJ      A1-H53BE-NFM-000_Web (1 of                         X
  23
                    2).BATES (MIL010356-MIL010911)
  24

  25
           TK       A1-H53BE-NFM-000_Web (2 of                         X

  26
                    2).BATES (MIL010912-MIL011467)

  27

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          Exh. Exhibit Description                                Expect   Ma       Obj.
   1      No.                                                     to Use    y
   2                                                                       Use
           TL       A1-H53BE-NFM-500_Web.BATES                              X
   3
                    (MIL011468-MIL011747)
   4
           TM       A1-H53BE-NFM-510_Web.BATES                              X
   5
                    (MIL011748-MIL011835)
   6
           TN       A1-H53BE-NFM-700_Web.BATES                              X
   7
                    (MIL011836-MIL011885)
   8
           TO       A1-H53BE-NFM-900_Web.BATES                              X
   9
                    (MIL011886-MIL012063)
  10
           TP       Photographs of wire inspection                   X
  11
                    (SIK010834-10942)
  12
           TQ       Photographs of BUNO 163077, landing              X
  13
                    gear and auxiliary fuel tank.
  14
           TR       Wire test photographs (water immersion)          X
  15

  16
           TS       Photographs of parties’ wire inspections         X

  17
                    2016.

  18
           TT       EDX data plots – parties’ wire inspection        X

  19                2016

  20       TU       SEM photographs – parties wire                   X

  21                inspection 2016

  22       TV       Hirox photographs – parties wire                 X

  23                inspection 2016

  24       TW       Photographs trough microscope – parties          X
  25                wire inspection 2016
  26       TX       Scope and authorization for deposition                  X
  27                (Leigh – 3)
  28                                                 108
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          Exh. Exhibit Description                                  Expect    Ma         Obj.
   1      No.                                                       to Use     y
   2                                                                          Use
           TY         Scope and authorization for deposition                   X
   3
                      (Fitzsimmons - 7)
   4

   5

   6                                                   V.

   7    The following facts are admitted and require no proof:

   8                      U.S. Marine Corps Staff Sgt. Alexis Fontalvo died on March 17, 2011,

   9                at Marine Corps Air Station (“MCAS”) Miramar, as the result of a military

  10                helicopter mishap involving a CH-53E “Super Stallion” heavy lift cargo

  11                helicopter (BuNo 163077) that was being prepared for a training flight.

  12                      Sikorsky, which at the time of manufacture was a division of United

  13                Technologies Corporation, manufactured of CH-53E helicopter BuNo

  14                163077.

  15                      Sergeant Alex Fontalvo was a member of Marine Heavy Helicopter

  16                Squadron 361 ("HMH-361"), stationed at MCAS Miramar.

  17                      Sgt. Fontalvo was an Airframe Collateral Duty Quality Assurance

  18                Representative (CDQAR) at the time of the accident.

  19                      Sgt. Fontalvo was designated as an Aerial Observer and qualified as

  20                such for the mishap flight. He had flown 37.4 hours in the CH-53E and met

  21                all ground and flight syllabus requirements to conduct flight operations.

  22                      As Aerial Observer, Sgt. Fontalvo was responsible for pulling chocks

  23                and safety pins before departure and had trouble removing a safety pin from

  24                the helicopter’s left main landing gear.

  25                      Fontalvo positioned himself under the subject helicopter while

  26                attempting to remove the landing gear safety pin

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   1                         The landing gear inadvertently retracted, causing SSgt. Fontalvo’s
   2                death.
   3                         A cause of the landing gear retraction was the inadvertent application
   4                of electrical energy to the landing gear control wire from some other electrical
   5                wire.
   6                         After the Fontalvo mishap, the Navy added a warning to CH-53E
   7                NATOPS manuals and checklists instructing: “If any resistance or binding is
   8                felt while pulling a landing gear safety pin, reseat it immediately and do not
   9                attempt to remove any of the remaining pins. Failure to do so may allow the
  10                landing gear to inadvertently retract on the ground.”
  11                         The subject CH-53E landing gear control system includes five
  12                protective interlocks. Two interlocks are operated by the pilot – the up and
  13                down control handle and a separate lock to prevent inadvertent actuation.
  14                Two other interlocks are “Weight on Wheels” (WOW) switches associated
  15                with each of the two main landing gear, which prevent the landing gear from
  16                being retracted while the aircraft is on the ground. The fifth interlock consists
  17                of landing gear safety pins – one for each of the two main landing gear, and
  18                one for the nose landing gear. These are mechanical locks that prevent each
  19                of the gear from being retracted on the ground.
  20                         The left- and right main landing gear safety pins are located under the
  21                left and right helicopter sponsons.
  22                         Alexis Fontalvo was posthumously promoted from Sgt. to Staff
  23                Sergeant.
  24                         Alexis Fontalvo was not married on March 17, 2011.
  25                         Plaintiff T.L. was born on November 10, 2000, to her biological
  26                mother, Tashina Amador, and biological father, Delvin Long.
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   1                      Alexis Fontalvo was never married to Tashina Amador, T.L.’s mother
   2                and guardian ad litem.
   3                      Congress began appropriating funds for the CH-53E in 1970, and the
   4                Department of Defense authorized the Navy to proceed with development in
   5                November 1971.
   6                      The Subject Aircraft was manufactured pursuant to the Detail
   7                Specification for Model CH-53E Helicopter Fiscal Year 1986 (“FY-86”)
   8                mulit-year Procurement, SD-552-3-9.
   9                      Detail Specification SD-552-3-9 incorporated by reference other
  10                military specifications, including MIL-W-5088F (“Wiring, Aerospace
  11                Vehicles”).
  12                      According to Paragraph 3.16.5 of the Detail Specification, "wires shall
  13                have polyimide insulation in accordance with MIL-W -81381."
  14                      E.I. DuPont de Nemours & Company produced po1yimide insulation
  15                for wiring under the trade name "Kapton," which met the requirements of
  16                MIL-W-81381.
  17                      The Subject Aircraft was ordered in Lot 12, under Contract Number
  18                N0010-85-C-0066.
  19                      In 1989, the Navy decided to remove Kapton wire from the CH-53E
  20                specification and replace it with Spec 55 wire. However, the Navy determined
  21                the change would start with LOT 13. Since the subject helicopter, BUNO
  22                163077, was manufactured as part of LOT 12, Sikorsky was required by the
  23                government to manufacture the subject helicopter using Kapton wiring.
  24                      “Spec-55” wire can be identified by the bright white pigmentation of
  25                the outer casing.
                          “Spec-55” wire contains no Kapton.
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   1                                                VI.
   2    Deposition Designations
   3    Attached
   4    Plaintiffs served their deposition testimony designations on January 4, 2018. The
   5    parties agree that Defendants are entitled to a reasonable time to review those
   6    designations or to consider counter-designations and objections.
   7    Except for the portions of deposition testimony identified by Defendants in their
   8    December 1, 2017, Rule 26 disclosures (Doc. 225), Defendants object to all of
   9    Plaintiffs’ deposition designations. Defendants reserve their right to submit counter
  10    designations and more specific objections, if any.
  11                                                VII.
  12    This case will be tried by jury.
  13                                               VIII.
  14    The trial of this case will not be bifurcated.
  15                                               XIII.
  16    Time estimated for trial is 15 days.
  17

  18          IT IS SO ORDERED.
        Dated: January 12, 2018
  19

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  22
        APPROVED AS TO FORM AND SUBSTANCE PER U.S.D.C. (S.D. Cal.) LR
  23    16.1(f)(6)(c) BY:
  24
        Dated: January 5, 2018             GRASSINI, WRINKLE & JOHNSON
  25
                                               By: /s/ Marshall J. Shepardson
  26
                                                  Marshall J. Shepardson
  27
                                           Attorneys for Plaintiffs
  28                                                  112
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   1    Dated: January 5, 2018      FITZPATRICK & HUNT
   2                                      TUCKER, PAGANO, AUBERT, LLP

   3                                   By: /s/ Christopher Hickey
                                          Christopher Hickey
   4
                                    Attorneys for Defendants
   5                                SIKORSKY AIRCRAFT CORPORATION AND
   6                                UNITED TECHNOLOGIES CORPORATION

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